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BILL A. BUSBICE, JR., OLLA

PRODUCTIONS, LLC, and ECIBSUB, LLC
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

BILL A. BUSBICE, JR., an individual;
OLLA PRODUCTIONS, LLC, a limited
liability company; and ECIBSUB, LLC,
a limited liability company,

Plaintiffs,
Vv.

JAMES DAVID WILLIAMS, an
individual; STEVEN J. BROWN, an
individual; GERALD R. SEPPALA, an
individual; LEGACY FILM CREST,
LLC, a limited liability company; _
MOMENT FACTORY, LLC, a limited
liability company; LUXE ONE, INC., a
corporation; VISIONS LLC, a limited
liability company; BIPARTISAN
COALITION FOR AMERICAN
SECURITY CORPORATION, a
corporation; HIGHGATE PASS, LLC, a
limited liability company; GARUDA
PARTNERS, LTD., an inknown entity,
as Trustee of The Mulholland Ridge
Trust; and DOES 1 — £0, inclusive,

Defendants.

 
 
  

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Case No.C_ Ul y-Ul0T1-P

COMPLAINT FOR:

1, VIOLATION OF THE
FEDERAL SECURITIES
LAWS;

2. VIOLATION OF
CALIFORNIA
CORPORATION CODE
SECTION 25401;

3. COMMON LAW FRAUD;
4. BREACH OF FIDUCIARY
DUTY;

5. CONSTRUCTIVE FRAUD;

6. NEGLIGENT
MISREPRESENTATION;

7. CONSPIRACY TO
DEFRAUD;

8. ACCOUNTING;

9. BREACH OF IMPLIED
CONTRACT;

10. CONVERSION;

11. IMPOSITION OF A
CONSTRUCTIVE TRUST;

12, FRAUDULENT TRANSFER

DEMAND FOR JURY TRIAL

 

 

 

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COMPLAINT

 
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Plaintiffs Bill A. Busbice, Jr. ““Busbice”), Olla Productions, LLC (“Olla”),
and Ecibsub, LLC (“Ecibsub”) (collectively, “Plaintiffs”), allege:

NATURE OF THE ACTION

l, This is an action to remedy a bold and brazen securities fraud.

2. Over the course of nine months, beginning in April 2013, James David
Williams (“Williams”) — with the assistance of his associates and co-conspirators
Steven J. Brown (“Brown”), Gerald R. Seppala (“Seppala”), others acting in
concert with them and/or providing substantial assistance to them, and their
respective related entities — swindled Plaintiffs out of $10,900,000. Defendants
fraudulently induced Plaintiffs to invest in companies that purported to own and/or
control rights to feature length films, including the right to participate in the film’s
net revenues, and in some instances, the right to finance the film’s marketing
campaign (a so-called “prints and advertising” or “P& A” financing) which, in
addition to a priority return plus interest, entitled the financing company to receive
a substantial interest in the film’s net revenues.

3. In all, Defendants’ massive fraud involved four films: Made in
America, The Letters, Left Behind, and Angels Sing. As alleged in more detail
below, for each film, Williams and/or one or more of his co-conspirators structured
the deals, and then fraudulently induced Busbice (through his companies) to
purchase securities of various defendant entities through the intentional falsification
of financial documents, audacious lies and material misrepresentations. For
example, with respect to The Letters, Williams induced Busbice, through his wholly
owned company, Olla, to purchase common stock in a corporation that purportedly
had a deal with the film’s producers to finance over $20,000,000 for the film’s
P&A campaign. The deal was similar with respect to Angels Sing, but instead of
issuing Olla shares of corporate stock, Williams caused membership interests in a

limited liability company to be issued. For Left Behind, Williams induced Olla to

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1 | purchase “Participation Interests” in the film’s net revenue, which were represented
2 | to be “restricted securities” that had to “be held indefinitely unless . . . subsequently
3 | registered under the [1933 Securities] Act and applicable state securities laws or
4 | unless an exemption from registration is available[.]” For Made in America,
5 | Ecibsub was induced to acquire membership interests in a production company
6 | created and controlled by Williams and his co-conspirators.
7 4. Although there were some differences in how the scheme for each film
8 || was structured, the basic concept was the same: Williams and/or one or more of his
9 || co-conspirators, who held themselves out as experienced film industry insiders,
10 | claimed to have a deal in place to fund the production or marketing of a feature
11 | film. Plaintiffs were repeatedly told that investing in each deal would bring a
12 | guaranteed return of capital, interest, and profit participation rights. Williams and
13 | his co-conspirators falsely represented that they had already invested millions of
14 | their their own funds in each film, that more money was needed, and that Busbice
15 | could take advantage of the lucrative deal by investing his own money. Williams
16 | and/or one of his co-conspirators were set up to manage the deals, whereas
17 | Busbice’s role was that of a passive investor.
18 5. After investing $10,900,000, Plaintiffs discovered that they had been
19 | conned. Plaintiffs learned, among other things, that:
20 e Williams did not in fact invest his own (or any) money in the
21 purported deals;
22 e Williams intentionally provided Busbice with fake business and
23 financial records to convince Busbice that a solid financial foundation
24 existed for each investment;
25 e Williams and his co-conspirators presented Busbice with falsified bank
26 records purporting to show that multi-million dollars of funds were
27 already invested in each transaction when, in fact, there was no money
28 in any company other than what Plaintiffs invested;
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e Williams and his co-conspirators repeatedly lied and concealed the
truth with falsified documents at each instance when Plaintiffs tried to
obtain accurate information related to their investments; and

e Williams and his co-conspirators secretly, wrongfully and without
Plaintiffs’ knowledge, siphoned millions of dollars to other accounts
under their exclusive control and converted Plaintiffs’ money for their
own personal use.

e Out of the millions invested by Plaintiffs, almost none of the funds
were spent on the film projects or used for the purposes for which they
were intended.

6. In short, it appears that most, if not everything that Williams and his
co-conspirators told Busbice and presented to Busbice to induce Plaintiffs’
investments and to conceal the frauds that had been perpetrated, was flagrantly false
and designed to cheat Plaintiffs out of millions of dollars.

7. Instead of investing in the four fills as had been represented,
Defendants used Plaintiffs’ money to go on an out-of-control personal spending

spree.

JURISDICTION AND VENUE

8. The claims asserted herein arise under section 10(b) of the Securities
Exchange Act of 1934 (the “Exchange Act”) (15 U.S.C. § 78j(b)) and Rule 10b-5
(17 C.F.R. § 240.10b-5) promulgated thereunder by the Securities and Exchange
Commission.

9. This Court has subject matter jurisdiction over this action pursuant to
section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. section 1331
(federal question jurisdiction) and has supplemental jurisdiction over the state law
claims asserted herein pursuant to 28 U.S.C. section 1367(a), because they are

related to claims within this Court’s original jurisdiction.

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COMPLAINT

 
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10. Venue is proper in this district pursuant to section 27 of the Exchange
Act and 28 U.S.C. section 1391(b), because several of the acts and transactions
giving rise to the violations of law complained of herein occurred in this district,
and Williams and other defendants reside in this district.

11. In connection with the acts, transactions and conduct alleged herein,
defendants, directly and indirectly, used the means and instrumentalities of
interstate commerce, including, but not limited to, the United States mails and

interstate wire and telephone communications.

THE PARTIES

12. Plaintiff Busbice is an individual residing in Wyoming.

13. Plaintiff Olla is a Louisiana limited liability company. Busbice is
Olla’s sole member.

14. Plaintiff Ecibsub is a Louisiana limited liability company. Ecibsub’s
members are: Busbice; Dorothy Elizabeth Lippman Busbice, an individual residing
in Wyoming; and Rebecca T. Romero, an individual residing in Louisiana, as
Trustee for the Ryan Alfred Busbice Family II Trust, the William Matthew Busbice
Family II Trust, and the Sarah Elizabeth Family II Trust.

15. Defendant Williams is an individual residing in Los Angeles County,
California. Williams has done and continues to do business under various fictitious
business names including, without limitation, New Legacy Film Investment V
(“NLFT”’), New Legacy Media Partners (““NLMP”), Legacy Film Crest Media
Management Fund (““LFCMMF”), and Film Crest Entertainment (“FCE”).
Plaintiffs are informed and believe, and on that basis allege, that NLFI, NLMP,
LFCMMEF and FCE are not formal legal entities. Williams also operates through
certain entities that are formal legally-registered entities, at least some of which are

named parties to this action and are described herein below.

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16. Defendant Brown is an individual residing in Los Angeles County,
California.

17. Defendant Gerald R. Seppala (“Seppala’”) is an individual residing in
Minnesota.

18. Defendant Legacy Film Crest, LLC (“Legacy”) is a California limited
liability company with its principal place of business in Los Angeles County,
California. Plaintiffs are informed and believe, and on that basis allege, that
Legacy is owned and controlled by Williams.

19. Defendant Moment Factory, LLC (“Moment Factory”) is a California
limited liability company with its principal place of business in Los Angeles
County, California. Plaintiffs are informed and believe, and on that basis allege,
that Moment Factory’s only members are plaintiff Olla and defendant Legacy.

20. Defendant Luxe One, Inc. (“Luxe One”) is a California corporation
with its principal place of business in Los Angeles County, California.

21. Defendant Visions L.L.C. (“Visions”) is a Minnesota limited liability
company.

22. Defendant Bipartisan Coalition for American Security Corporation
(“Bipartisan Coalition”) is a California corporation with its principal place of
business in Los Angeles County, California. Plaintiffs are informed and believe,
and on that basis allege, that Bipartisan Coalition is owned and/or controlled by
Williams.

23. Defendant Highgate Pass, LLC (“Highgate”) is a California limited
liability company with its principal place of business in Los Angeles County,
California. Plaintiffs are informed and believe, and on that basis allege, that
Highgate is affiliated with, owned and/or controlled by Williams and/or Brown.

24. Plaintiffs are informed and believe, and on that basis allege, that

Defendant Garuda Partners, Ltd. (“Garuda”) is an unknown entity that is affiliated

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with, owned and/or controlled by Williams and/or Brown, and is Trustee of the
Mulholland Ridge Trust.

25. The true names and capacities, whether individual, corporate, or
otherwise, of the defendants sued herein as DOES 1 through 50, inclusive, are
unknown to Plaintiffs. Therefore, Plaintiffs sue the DOE defendants by such
fictitious names. Plaintiffs will amend this complaint to show the true names and
capacities of the DOE defendants when they have been ascertained. Plaintiffs are
informed and believe, and on that basis allege, that DOES 1 through 50, inclusive,
and each of them, are in some manner liable to Plaintiffs.

26. Plaintiffs are informed and believe, and on that basis allege, that at all
times herein mentioned, Defendants, and each of them, were the agents, trustees,
partners, joint venturers, co-conspirators, contractors and/or employees of the other
Defendants, and that the acts and omissions herein alleged were done by them,
acting individually, through such capacity and within the scope of their authority,
and with the permission and consent of the other Defendants and/or were thereafter
ratified by each of the other Defendants, and that each of them are jointly and
severally liable to Plaintiffs.

BACKGROUND ALLEGATIONS
A. The Made in America Deal

 

27. In April 2013, Defendants Williams, Seppala and Brown approached
Busbice regarding an opportunity to invest in a feature length documentary, Made
in America, through the purchase of membership units in Visions, a limited liability
company organized as the film’s project management, development and financing
entity. According to these defendants, Seppala and Brown were the film’s
producers, and Seppala’s company Griffin Productions, which had developed the

film, assigned all of its rights regarding the film to Visions.

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28. Visions was to be managed by Seppala, who would hold virtually all
of the company’s twenty “Class A Units” which, according to an Informational
Financing Memorandum provided to Busbice, had “primary governance rights
respecting control of the Company and the conduct of its business,” as well as
certain financial rights. Investors could purchase Visions’ “Class B Units,” which
granted “limited governance rights,” but potentially lucrative financial rights,
including the right to recoup 120% of the investor’s capital contribution before any
distributions were made to Class A Unit holders, followed by a pro rata share of the
film’s profits. Visions’ Member Control Agreement, dated April 15, 2013, detailed
the members’ respective rights and interests as Class A or Class B Unit holders.

29. Defendants Seppala, Brown and Williams represented that the
minimum financing needed for the film was $1,000,000, and that Williams would
be investing $500,000 of his own money to purchase one Class A Unit and five
Class B Units in Visions. These defendants looked to Busbice to invest the
remaining $500,000 to acquire the same equity interest as Williams.

30. On April 15, 2013, Seppala e-mailed Busbice the film’s budget, which

indicated that just over $1,000,000 was budgeted for various items, such as “set

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construction,” “set operation,” “special effects,” etc. Defendants Brown and
Williams were copied on that e-mail.

31. Later on April 15, 2013, Seppala e-mailed Busbice a purported wire
confirmation (the “Purported 4/15/13 Wire Confirmation”) indicating that Williams
transferred $500,000 to a JP Morgan Chase (“Chase”) bank account opened for
Visions, Account No. 478137206 (the “Visions 7206 Account’), which was
represented to be the production account for the Made in America project.

32. Onor about April 24, 2013, Defendants Seppala and Williams sent
Busbice a purported printout of a Chase online statement for the Visions 7206
Account reflecting that, as of April 24, 2013, that account’s present balance was

$531,610.12 (the “Purported 4/24/13 Screenshot”). Defendants Seppala and

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Williams sent Busbice the Purported 4/24/13 Screenshot as further confirmation of
Williams’ $500,000 investment in order to induce Busbice to invest.

33. Onor about April 25, 2013, Defendants Seppala and Williams sent
Busbice a copy of a Subscription Agreement, signed by Williams, representing that
Williams was acquiring five Class B Units in Visions for $500,000. This
Subscription Agreement also contained an acknowledgement, signed by Seppala,
certifying that Visions had already received Williams’ $500,000 “by way of wire
transfer into the checking or deposit account of Visions, LLC[.]”

34. Based on these representations, on or about April 25, 2013, Busbice,
on Ecibsub’s behalf, signed a Subscription Agreement to acquire five Class B Units
in Visions for $500,000. That Subscription Agreement provided, among other
things, that “the B Units are not registered under the Securities Act of 1933 (the
‘Securities Act’) or the securities laws of any state, and that such B Units will be
issued to the undersigned in reliance on the nonpublic offering exemption under
Section 4(2) of the Securities Act and Regulation D thereunder and the appropriate
provisions of the applicable state laws[.]”

35. On April 26, 2013, in direct reliance upon on Defendants’
representations, Busbice caused Ecibsub to wire transfer $500,000 to the Visions

7206 Account.

B. The Luxe One / The Letters Deal — Part 1 (the first $2,000,000)

36. In late June 2013, Williams approached Busbice regarding an
investment opportunity that involved the making of a P&A loan in connection with
the theatrical release of The Letters, a feature film about the life of Mother Teresa.
According to Williams, Williams had an agreement in place with the
owner/producer of The Letters, Big Screen Entertainment Partners V (“Big
Screen”), to make a $10,000,000 P&A loan for the film, which was to be repaid

with interest from the film’s net revenues, and which was to be secured in a first

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position by such revenues. In addition, according to Williams, that agreement also
provided him (through his company, Luxe One) with certain lucrative “back end”
participation rights in the film’s net profits.

37. Williams had caused Luxe One to be incorporated as a special purpose
entity for this purported deal in May 2013. At the time Williams solicited Busice’s
investment in the deal, Williams represented to Busbice that he had already
advanced to Luxe One $2,000,000 of his own money (through his entity NLFI), and
had obtained a $6,000,000 contribution from Chart Investment Fund CV12
(“Chart”), which Williams represented was an entity controlled by certain unnamed
clients of his with which he had done many successful P&A deals in the past.

Thus, according to Williams, only $2,000,000 remained in order to complete the
$10,000,000 P&A loan investment. Williams sought this $2,000,000 from Busbice.

38. In late June 2013, Busbice organized Olla (with Busbice as its sole
member and manager) as the vehicle for his investment in Luxe One.

39. In late June 2013, Williams represented that Busbice’s company Olla,
and Williams’ company NLFI, would each be 25% shareholders in Luxe One, and
that Chart would be a 50% shareholder, due to the size and proportions of their
respective contributions. Williams also represented to Busbice that he held Chart’s
proxy and that Busbice “didn’t have to worry about Chart.”

40. In early July 2013, Williams provided Busbice with an agreement
dated July 3, 2013, between Olla and Luxe One, entitled “Prints and Advertising
Investment Fund Lending Term for the Feature Film ‘The Letters’” (the “Letters
Term Sheet”), which was signed by Williams on Luxe One’s behalf, and which
contained provisions governing Olla’s $ 2,000,000 contribution, as well as certain
of Luxe One’s representations regarding the overall P&A investment.

41. Indirect reliance upon Williams’ representations regarding the
investment, including, without limitation, that $8,000,000 had already been funded

into Luxe One and that the bank account into which the investment was to be paid

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was Luxe One’s only bank account, on July 3, 2013, Busbice, through Olla, wire
transferred $2,000,000 to a Chase bank account held by Luxe One, as instructed by
Williams.

42. In July 2013, at Williams’ direction, Luxe One issued 250 shares of
Luxe One stock to Olla, 250 shares of Luxe One stock to NLFI, and 500 shares of
Luxe One stock to Chart.

C. The Left Behind Deal

 

43. On August 8, 2013, Williams e-mailed Busbice regarding an
opportunity to invest $2,400,000 in the film Left Behind, for interest and ownership
of “10% of the Worldwide Revenue from the film[.]” According to Williams, Left
Behind was currently in full film production and was “based on the LEFT BEHIND
books which have sold 68 million copies ... second only to HARRY POTTER
AND TWILIGHT.” Williams represented that the film had a $15,000,000
production budget, and that Williams was funding most of that budget himself.
However, Williams represented that he was “in a bind on” the movie, because he
was $2,400,000 short, and although Williams could borrow against some of his
holdings, that “takes time.” Williams stated that Busbice was “the first person that
[he] thought of” and advised Busbice to “[k]eep in mind that the first three movies
in the franchise . . . starring Kirk Cameron ... made well over $100 million
dollars, and this one stars Nicolas Cage.”

44, Based on Williams’ solicitation, Busbice expressed interest in the Left
Behind opportunity and told Williams that he could invest through his company
Olla. Subsequently, on or about August 11, 2013, Williams sent Busbice an
agreement, dated August 12, 2013 and entitled “Left Behind — Participating Loan
Agreement” (the “Left Behind Agreement’), purportedly governing that investment
and Olla’s participation rights in the film.

45. Section 5.2 of the Left Behind Agreement provides:

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COMPLAINT

 
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The Lender [7.e., Olla] acknowledges and understands that
the offer and sale of the rights under this agreement (the
“Participation Interest”) to the Lender has not been
registered under the United States Securities Act of 1933,
as amended (the “1933 Act’), or applicable states
securities laws, and that as a result, the Participation
Interests are restricted securities, and must be held
indefinitely unless the Participation Interests are
subsequently registered under the Act and applicable state
securities laws or unless an exemption from registration is
available to allow the transfer of the Participation
Interests.

46. On August 12, 2013, Williams promptly e-mailed Busbice wire
instructions for the Left Behind investment and stated: “[o]nly send the $2,400,000
(not the $2,500,000 as outlined in the Agreement). We’ll settle that up later.
Thanks.”

47. Later that day, August 12, 2013, Busbice, through Olla, wire
transferred $2,400,000 to a Chase bank account of Left Behind Investments, LLC
(“LBI’) as Williams instructed, expecting that the investment would be recorded

directly in Olla’s name, as investor.

D. The Moment Factory / Angels Sing Deal

 

48. In October 2013, Williams approached Busbice regarding another
P&A loan investment opportunity, this time in connection with Angels Sing, a
Christmas-themed feature film starring Harry Connick Jr., Willie Nelson and
others. According to Williams, Williams had set up Moment Factory (a limited
liability company) as a special purpose entity for this investment, and was

negotiating a deal with the film’s producers/owners, DF Indie Studios LLC (“DF

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Indie”), to make a $4,000,000 P& A loan for Angels Sing. The loan was to be
repaid with interest from the film’s net revenues and was to be secured in a first
position by such revenues. In addition, the deal offered “back end” participation
rights in the film’s net profits. Williams informed Busbice that Williams (through
his company, Legacy) had already put $2,000,000 of his own money into Moment
Factory for the deal, and that if Busbice contributed $2,000,000, then the two would
each be invested 50%-50% as equal members of Moment Factory.

49. On October 24, 2013, Williams, through counsel, provided Busbice
with unsigned drafts of three key documents relating to the deal: (1) a “Prints and
Advertising Investment Lending Term Sheet” between Moment Factory and
Busbice’s company Olla (“Angels Sing Term Sheet”); (2) a “Single Picture P&A
Credit Facility Term Sheet” between Moment Factory and DF Indie (“Angels Sing
Credit Facility Agreement”); and (3) an “Irrevocable Letter of Direction” (“Letter
of Direction”), between Moment Factory, DF Indie, and Lions Gate Films, Inc. (the
film’s distributor) (“Lions Gate”). Williams assured Busbice that DF Indie and
Lions Gate would promptly sign the Angels Sing Credit Facility Agreement and the
Letter of Direction and that the $4,000,000 was urgently needed for the P&A
campaign for Angels Sing’s upcoming theatrical release.

50. On October 25, 2013, Williams e-mailed Busbice’s counsel with
certain marketing and budget information for Angels Sing. The marketing
information Williams furnished reflected that Angels Sing was to have an initial
wide theatrical release to at least 1,000 screens. Williams represented to Busbice
that the film would be released theatrically on an immediate basis during the
upcoming 2013 holiday season and provided a P& A/marketing budget for that
purpose.

51. Busbice requested confirmation that Williams (through Legacy) had
contributed his half of the $4,000,000 fund. Thus, on October 29, 2013, at

Williams’ direction, Williams’ counsel, Barry J. Reiss, e-mailed Busbice’s counsel

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attaching what purported to be a Chase online statement reflecting Moment
Factory’s bank account’s balance from the day before, i.e. October 28, 2013 (the
“Purported 10/28 Moment Factory Balance Statement”). The Purported 10/28
Moment Factory Balance Statement indicated that on October 28, 2013, the present
balance of Moment Factory’s Chase Bank account was $1,903,150.24, which funds
represented amounts remaining from Williams’ purported contribution of
$2,000,000 into the Moment Factory account.

52. On October 30, 2013, Williams, on Moment Factory’s behalf, signed
the final version of the Angels Sing Term Sheet, which contained provisions
governing Olla’s $2,000,000 contribution, as well as Moment Factory’s
representations regarding the overall P& A loan/investment.

53. On that same day, October 30, 2013, in direct reliance upon Williams’
representations regarding the investment opportunity and the purported
confirmation of Williams’ own contribution, Busbice, through Olla, wire

transferred $2,000,000 to Moment Factory’s Chase account.

E. The Luxe One / The Letters Deal — Part 2 (an additional $4,000,000)

54, In November 2013, following Plaintiffs’ funding of the Moment
Factory transaction, Williams informed Busbice that Luxe One’s deal regarding The
Letters had improved to their advantage. Specifically, Williams represented that
because The Letters was viewed as such a strong film, Luxe One was given the
opportunity both to loan up to $22,000,000 for the film’s P&A spend and to pay
Big Screen $1,750,000 in “finishing funds” for the film, in return for a direct equity
stake in Big Screen (specifically, 35 of Big Screen’s 400 authorized shares).
Williams claimed to have negotiated the new and enhanced deal with Big Screen
and informed Busbice that Luxe One needed to amass an additional $12,000,000 to
carry out the deal. Williams represented to Busbice that both Chart and NLFI

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(Williams’ company) were contributing an additional $4,000,000, but that an
additional $4,000,000 was needed from Busbice/Olla.

55. In December 2013, Williams, directly and through his counsel, Barry
J. Reiss, continued to press Busbice for an additional $4,000,000, representing that
the total $22,000,000 had to be fully funded by the end of the year, because the film
was scheduled to be released in early April 2014, and the producer and distributors
demanded confirmation that the full $22,000,000 was in the bank.

56. On December 11, 2013, at the same time that Williams was attempting
to induce Busbice to invest the additional $4,000,000 in Luxe One, Williams sent
an e-mail to Busbice’s counsel regarding the release of Angels Sing (in which
Busbice/Olla had invested with Williams through Moment Factory). Williams’ e-
mail represented that the release had “gone very well,” that Lions Gate (the film’s
distributors) reported that the film was “performing quite well on all platforms,”
and that they “already ha[d] a network sale in place for next year which show|/ed]
how well [the film] was tracking[,]” and that Williams felt that both he and Busbice
would “be in good shape on this one.”

57. On December 13, 2013, through counsel, Williams sent Busbice a
fully executed agreement, dated September 16, 2013, entitled “Single Picture Prints
and Advertising Credit Facility Agreement — ‘the Letters’” (the “Letters Credit
Facility Agreement”) between and Luxe One and Big Screen, which purportedly
governed those parties’ rights and obligations in relation to the film’s P&A loan.

58. In mid-December 2013, through counsel, Busbice asked Williams to
confirm certain information regarding the deal. For example, Busbice asked for
confirmation that Luxe One had paid the $1,750,000 in “finishing funds” to Big
Screen and as a result owned 35 of the 400 authorized shares of Big Screen stock.
In addition, Busbice asked, among other things, for confirmation that Chart and
NLFI paid their respective additional $4,000,000 contributions and that the
aggregate sum of $18,000,000 had been funded to that point in time.

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1 59. On December 16, 2013, William’s counsel, in an e-mail to Busbice’s
2 | counsel on which Williams was copied, confirmed among other things that: (1)
3 | Chart had contributed its additional $4,000,000, bringing its total contribution to
4 || $10,000,000; (2) NLFI had contributed its additional $4,000,000, bringing its total
5 | contribution to $6,000,000; (3) Luxe One paid the $1,750,000 of finishing funds to
6 | Big Screen; and (4) Luxe One had documentation reflecting its ownership of 35 of
7 || the 400 authorized units of Big Screen equity.
8 60. On December 18, 2013, Williams sent an e-mail to Busbice’s counsel,
9 | with a simultaneous copy to his own counsel, attaching what was represented to be
10 | a Chase online statement reflecting Luxe One’s bank account’s balance from the
11 | day before, i.e. December 17, 2013 (the “Purported 12/17 Luxe One Balance
12 | Statement”). The Purported 12/17 Luxe One Balance Statement showed that on
13 || December 17, 2013, the present balance of Luxe One’s Chase account was
14 | $18,014,609.46.
15 61. Williams sent the Purported 12/17 Luxe One Balance Statement to
16 | convince Busbice that both Chart and NLFI had paid their additional $4,000,000
17 | contributions, bringing their combined contributions to $16,000,000 (which, when
18 combined with Busbice/Olla’s earlier $2,000,000 contribution, would have brought
19 |, the total to $18,000,000).
20 62. On December 18, 2013, Williams sent Busbice’s counsel, again with a
21 | simultaneous copy to his own counsel, another e-mail attaching what was
22 | represented to be copies of cancelled checks showing that Luxe One paid Big
23 | Screen the $1,750,000 in finishing funds from Luxe One’s Chase Bank account to
24 | obtain the 35 shares of Big Screen’s stock (the “Purported Big Screen Cancelled
25 || Checks’).
26 63. The Purported Big Screen Cancelled Checks reflected that: (1) Luxe
27 | One paid the initial $250,000 amount of the finishing funds by check number 1007
28 | from its Chase Bank account when the check (dated 11/4/13) was deposited and
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cleared on November 6, 2013; and (2) Luxe One paid the remaining $1,500,000
amount by check number 1031 from its Chase Bank account when the check (dated
12/6/13) was deposited and cleared on December 10, 2013.

64. Over the final two weeks of 2013, Williams and his counsel continued
to press Busbice for an additional $4,000,000 contribution, repeatedly stressing the
urgency of the situation. At Williams’ urging, and based on Williams’
representations regarding the deal, Busbice agreed to contribute the additional
$4,000,000. Consequently, Olla entered into an Amendment to the Letters Term
Sheet with Luxe One that reflected Busbice/Olla’s additional contribution and
amended the earlier agreement.

65. On January 2, 2014, in direct reliance on all of the foregoing, Busbice,
through Olla, wire transferred $4,000,000 to Luxe One’s Chase account.

F, In 2014, Williams Provides Inconsistent, Incomplete and Falsified Financial
Documentation, While Concealing Other Key Information

66. Throughout January and February and the first half of March 2014,

 

Busbice and his advisors repeatedly asked Williams to provide various documents
and other information to verify the bona fides of the Luxe One and Moment Factory
investments including, but not limited to, financial and accounting records for both
investments, a copy of the Letter of Direction that was to be signed by Lions Gate
for the Moment Factory deal, and information about Chart and its control persons.
67. Williams and his coconspirators largely ignored or deflected these
requests with excuses and talk of other potential deals. Despite Busbice’s repeated
requests, Williams failed to provide any real accounting information related to the
Moment Factory investment, and also failed to provide a copy of the Letter of
Direction from Lions Gate assuring that the P& A loan would be paid in a first
position out of all distribution proceeds from Angels Sing. Plaintiffs made repeated

requests for financial, accounting and business information regarding the Luxe One

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transaction, including requests for specific information about the $10,000,000 co-
investor Chart or its control persons; however, Williams constantly stalled and
made excuses and no such information was provided.

68. On March 19, 2014, Plaintiffs’ accountant received a letter from
someone identified as “Carol Martin” on Legacy Film Crest, LLC letterhead (the
“3/19/14 Letter”). The 3/19/14 Letter was copied to Williams and Busbice and
purported to enclose “the financial information requested regarding Bill Busbice’s
and/or Olla Production, LLC’s investment in Luxe One, Inc.” The 3/19/14 Letter
enclosed purported Quick Book Reports and Chase Bank statements for July
through December 2013 (the “Purported Luxe One July-Dec. Financial Records”).
The 3/19/14 Letter represented that “the same information regarding Moment
Factory” would be sent later in the week; however, as previously stated, no
information regarding Moment Factory was ever provided.

69. In addition, on or about March 28, 2014, Williams furnished Plaintiffs’
accountant with what Williams represented were Luxe One’s Chase account
statements for January and February 2014 (the “Purported Luxe One Jan-Feb
Statements”).

70. At first glance, the Purported Luxe One July-Dec. Financial Records
and the Purported Luxe One Jan-Feb Statements seemed to reflect a financial
picture generally consistent with the Luxe One investment described by Williams.
For example, the Purported Luxe One Jan-Feb Statements reflect that on July 1,
2013, two days before Busbice contributed his initial $2,000,000, there was
$8,000,000 in the Luxe One account (representing the $6,000,000 purportedly
contributed by Chart, and the $2,000,000 purportedly contributed by Williams).

71. However, upon closer examination, the financial information Williams
provided in March 2014 proved to contradict the information that Williams
previously provided to Plaintiffs. By way of example only, whereas the Purported
12/17 Luxe One Balance Statement sent by Williams on December 18, 2013

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represented that there was $18,014,609.46 in the Luxe One account on December
17, 2013, the Purported Luxe One July-Dec. Financial Records reflected that there
was only $9,539,103.20 in the account on that very same date. (In reality, however,
as Busbice would later discover, there only was $112,945.09 in that account on
December 17, 2013.)

72. In late March and in April 2014, Plaintiffs discovered other suspicious
items about both investments. For example, the checks in early November and
December 2013 purporting to represent the payment of $1,750,000 to Big Screen
for the equity interest in Big Screen, were not accurately set forth in the Purported
Luxe One July-Dec. Financial Records, and the Purported 10/28 Moment Factory
Balance Statement that was sent to Busbice on October 29, 2013, to show that
Williams had already invested his own $2,000,000, inexplicably listed the name
“Luxe One, Inc.” instead of “Moment Factory, LLC” on page 2, as the apparent
account holder’s name. There were many other inconsistencies and inaccuracies

contained in the Purported Luxe One July-Dec. Financial Records.

G. The True Luxe One and Moment Factory Bank Statements Reveal

 

Defendants’ Massive Fraud

 

73. In April 2014, based on these discrepancies, Defendants’ ongoing
evasive behavior, and complete lack of responsiveness and transparency, Plaintiffs
obtained bona fide statements for Moment Factory’s Chase account from October
2013 through March 2014, and bona fide statements for Luxe One’s Chase accounts
from June 2013 through March 2014 (the “True MF/Luxe Bank Statements”). As a
result, Plaintiffs discovered, among other things, that contrary to the applicable
agreements and representations made by Williams, there was a second and
previously undisclosed bank account for Luxe One.

74. The True MF/Luxe Bank Statements show that Defendants brazenly

misrepresented and concealed material facts regarding both the Luxe One and the

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Moment Factory investments, and had sent Busbice falsified bank records to induce

Busbice/Olla to transfer $8,000,000 to the Moment Factory and Luxe One business

accounts under Williams’ control. By way of example only, the True MF/Luxe

Bank Statements reflect that:

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Contrary to Williams’ representation in June 2013, Williams never
contributed $2,000,000 (or any other amount) toward the P&A
investment for The Letters, and Chart (to the extent that entity even
exists) had not contributed $6,000,000 (or any other amount);
Contrary to Defendants’ repeated representations in December 2013,
neither Williams nor Chart contributed an additional $4,000,000 (or
any other amount) for the new and enhanced version of the P&A
investment for The Letters;

The Purported 12/17 Luxe One Balance Statement provided by
Williams on December 18, 2013 was fraudulently prepared, as there
was actually only $112,945.09 in the Luxe One account on December
17, 2013 (not $18,014,609.46 or even $9,539,103.20 as shown in the
Purported Luxe One July-Dec. Financial Records);

The Purported Big Screen Cancelled Checks provided by Williams on
December 18, 2013 also were fraudulently prepared, as, among other
things, the True MF/Luxe Bank Statements show no record of check
number 1031, which according to the Purported Big Screen Cancelled
Checks was the $1,500,000 check that cleared on December 10, 2013;
Contrary to Williams’ representations prior to October 30, 2013,
Williams had not contributed $2,000,000 (or any other amount) toward
the P&A investment for Angels Sing and there was no P&A campaign
as Williams described;

The Purported 10/28 Moment Factory Balance Statement provided by

Williams on October 29, 2013 was fraudulently prepared, as there was
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actually $0 in the Moment Factory account (not $1,903,150.24) until
Olla contributed its $2,000,000;

e The film Angels Sing was never theatrically released, and following a
small number of test screenings, went direct to video and video-on-
demand; and

e Plaintiffs’ funds (the only funds contributed toward the Angels Sing
P&A) were never used for the purposes intended, and were
misappropriated by Williams and those acting in concert with him for

personal use, other activities and self-enrichment.

H. The True MF/Luxe Bank Statements Reflect Secret,

 

Unauthorized and Fraudulent Transfers

75. The True MF/Luxe Bank Statements show that Williams and Brown

 

secretly and without authorization expended enormous sums from the Moment
Factory and Luxe One business accounts on personal matters and on matters
completely unrelated to the purported P&A investments, and transferred huge sums
to entities controlled by Williams and/or Brown and to other third parties for
purposes unrelated to the purported P&A investments.

76. On July 8, 2013, less than a week after Busbice wired the initial
$2,000,000 to Luxe One’s Chase Bank Account No. 222882939 (the “Luxe One
2939 Account”), Williams, without authorization or legitimate business purpose,
transferred $100,000 from the Luxe One 2939 Account to an account held by
Legacy, Williams’ own company. Williams similarly transferred at least another
$275,000 from the Luxe One 2939 Account to Legacy in the following months.
Williams also transferred funds from the Moment Factory Chase Bank account to
Legacy without authorization or legitimate business purpose, including a $50,000
transfer on November 4, 2013. In all, over $982,500 was transferred into the

Legacy account from Plaintiffs’ investments.

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77. Also on July 8, 2013, Williams, without authorization or legitimate
business purpose, transferred $50,000 from the Luxe One 2939 Account to
Bipartisan Coalition, a corporation that Plaintiffs are informed and believe is owned
and/or controlled by Williams. Williams similarly transferred at least another
$60,000 to Bipartisan Coalition from the Luxe One 2939 Account in the following
months. In all, at least $110,000 was transferred into the Bipartisan Coalition
account from Plaintiffs’ investments.

78. Also on July 8, 2013, Williams transferred $10,000 from the Luxe One
2939 Account to another bank account in California that Williams and Brown
secretly opened with Chase in Luxe One’s name: Chase Account No. 222881572
(the “Luxe One 1572 Account”). Both Williams and Brown were signatories on the
Luxe One 1572 Account.

79. Within a month, over $500,000 was transferred from the Luxe One
2939 Account to the Luxe One 1572 Account, and tens of thousands of dollars
more were transferred from the one account to the other in the following months.

80. The Luxe One 1572 Account also was funded by unauthorized
transfers from the Moment Factory Chase Bank account. For example, in
November 2013, Williams, with Brown’s knowledge and assistance, transferred
over $100,000 from the Moment Factory account to the secret Luxe One 1572
Account. In all, over $1,510,000 was transferred into the secret Luxe One 1572
Account from Plaintiffs’ investments.

81. As an actual signatory on the account, and as the real bank statements
reflect, Brown had full access to and control over the Luxe One 1572 Account and
essentially treated the account as his own personal piggy bank, freely spending the
account’s contents over time on unauthorized non-business items.

82. As the real bank statements reflect, between July 1, 2013 and February
28, 2013, Defendant Highgate received at least $164,500 in transfers from the Luxe

One and Moment Factory Chase Bank accounts. These transfers, which were made

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or directed by Williams, were made secretly and without authorization or legitimate
business purpose.

83. In February and March 2014, Williams secretly and fraudulently
transferred over $725,000 from the Moment Factory Chase Bank account to
purchase a piece of real property located in Calabasas, Los Angeles County,
California with Assessor Parcel Nos. 2072-030-010, 2072-025-014, 2072-025-015,
2072-025-016, 2072-027-003, 2072-024-015, 2072-024-005 and 2072-024-016 (the
“Calabasas Property’’) in the name of Garuda Partners, Ltd., as Trustee of the
Mulholland Ridge Trust. The funds went from the Moment Factory Chase bank
account to an escrow account with First American Title Company for the purchase

of the Calabasas Property.

I. Plaintiffs Uncover the Fraudulently-Induced Nature and

 

Conversion of Plaintiffs’ Made in America Investment

 

84. Plaintiffs subsequently discovered the following facts regarding
Defendants’ fraud and conversion in connection with the Made in America
investment:

e The Visions 7206 Account was opened on April 10, 2013, but did not
have any money in it until Ecibsub transferred $500,000 on April 26,
2013;

e The Purported 4/15/13 Wire Confirmation, representing that Williams
transferred $500,000 to the Visions 7206 Account on April 15, 2013,
was counterfeit and fraudulent;

e The Purported 4/24/13 Screenshot, representing that the Visions 7206
Account’s available balance exceeded $500,000 as of April 24, 2013,
was counterfeit and fraudulent;

e On April 26, 2013 — the same day that Ecibsub transferred its
$500,000 to the Visions 7206 Account — $450,000 was immediately

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rerouted to another Chase account held by Williams’ wholly-owned
company, Legacy;

e Another $35,000 was transferred from the Visions account to the
Legacy account three days later on April 29, 2013;

e The Legacy account had a negative balance before it received the
$450,000 from the Visions 7206 Account on April 26, 2013, and in the
months following that transfer, Williams, by and through ATM Debit
Card No. 6589, spent the money transferred from the 7206 Account on
unauthorized, personal and non-business items; and

e As of May 1, 2014 — more than one year after Ecibsub’s investment,
Ecibsub’s $500,000 wire transfer on April 26, 2013 has been the only
deposit or other addition to the Visions 7206 Account, and the vast
majority, if not all, of those funds were used for personal expenses and
other items completely unrelated to the Made in America

documentary.

J. The Fraudulent Nature of the Left Behind Investment

 

85. Williams has provided no information regarding Olla’s investment in
the Left Behind deal since the investment was made.

86. In May 2014, Plaintiffs first discovered that the film’s producers had
no record of Olla’s investment under Olla’s or Busbice’s name.

87. Plaintiffs are informed and believe, and on that basis allege, that
Williams’ representation that Olla’s $2,400,000 wire transfer toward the investment
would be governed by the Left Behind Agreement was false, and that Williams’
representations and wire transfer instructions were fraudulently made so as to allow
Williams and his co-conspirators to convert the wired funds for their own benefit.

88. In addition, the True MF/Luxe Bank Statements reveal that Williams
caused at least $300,000 to be paid out of the Luxe One accounts to LBI and caused

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at least $500,000 to be paid to LBI’s parent company, Cloud Ten or otherwise
relating to the Left Behind film, notwithstanding the fact that Luxe One was a
special purpose entity funded entirely by Busbice/Olla for the P&A investment in a
different film (i.e., The Letters).

K. Defendants Have Already Wrongfully Stripped the Business Bank Accounts
of at Least $7,000,000

 

89. Although the full extent of Defendants’ theft and conversion is not yet
known, at this point it appears that Defendants have stripped the various investment
entities’ respective bank accounts of at least $7,000,000 through unauthorized
spending and fraudulent transfers.

90. Plaintiffs transferred a total of $6,000,000 to the Luxe One 2939
Account. Today, only $683,518.51 remains.

91. Plaintiffs transferred $2,000,000 to the Moment Factory bank account.
Today, only $62,904.09 remains.

92. Plaintiffs transferred $500,000 to the Visions 7206 Account. Today,
only $50 remains.

93. From March 2013 through April 2014, at least $1,510,000 of
Plaintiffs’ money was transferred from these accounts to fund the secretly opened
and concealed Luxe One 1572 Account controlled by Brown. Today, there is only
$40 left in that account. The bank records show that Brown had full access to that
account, including an ATM and Debit Card on the account, and nearly completely
drained all funds in the account on personal expenses and to support his lavish and
jet-setting lifestyle. Brown’s expenditures from the Luxe One 1572 Account during
this time period include: cash withdrawals of at least $86,000, ATM and Debit
Card withdrawals of at least $66,000, payments totaling $185,000 to personal

lawyers unrelated to Plaintiffs’ investments; tens of thousands of dollars at fancy

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1 | hotels and restaurants across the country; thousands of dollars more for personal
2 | expenditures; and hundreds of thousands of other transfers and payments.
3 94. From March 2013 through April 2014, approximately $1,000,000 of
4 | Plaintiffs’ money was transferred from the Visions, Moment Factory and Luxe One
5 | bank accounts to the bank account controlled by Williams in the name of Legacy
6 | (Williams’ wholly-owned entity), which had a negative balance before Plaintiffs’
7 | money began flowing in. Today, only $34,201.17 remains in the Legacy account.
8 | The bank records show that Williams had sole and exclusive access to that account
9 | and spent nearly $1,000,000 of Plaintiffs’ money through that account to cover his
10 | own personal expenses, to support his own lavish lifestyle and for matters
11 | completely unrelated to the intended use of Plaintiffs’ investment. Williams’
12 | expenditures from the Legacy account during this time period include: hundreds of
13 | thousands of cash withdrawals, ATM and Debit Card withdrawals of at least
14 | $214,000, an $87,825 payment at a Jaguar dealership; an $89,394 withdrawal to
15 || pay down loans on his residence and boat; at least $37,658 in payments for his
16 | child’s private school tuition; a $22,354 payment for an unidentified time-share
17 | property, over $4,000 at Louis Vuitton and over $5,000 at Neiman Marcus; tens of
18 | thousands of dollars on family vacations, hotels, restaurants and car rentals; and
19 | numerous other such expenditures.
20 95. The unauthorized use of funds described hereinabove, does not include
21 | the millions of dollars misappropriated from the primary accounts of Luxe One and
22 | Moment Factory. In those accounts, Williams again took hundreds of thousands of
23 | dollars in the form of cash withdrawals, check payments and ATM and Debit Card
24 | payments, and expended and/or transferred millions of dollars for purposes
25 | unrelated to the investments.
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L. Alter Ego Liability Among Williams and the Williams-Related Entities
96. Plaintiffs are informed and believe, and on that basis allege, that at all

relevant times mentioned herein, there existed a unity of interest and ownership
between and among Williams, Legacy, Bipartisan Coalition, Highgate, Moment
Factory, Luxe One, Visions, and Garuda, such that any individuality and
separateness between these defendants ceased, with each being the alter ego of the
other, in that Williams is believed to have, among other things, secretly,
fraudulently and regularly transferred substantial funds from one account to another
without any regard for corporate boundaries or any other limitations; commingled
his and these entities’ respective funds; used these entities’ assets for his own
personal uses; caused these entities’ respective assets to be transferred to him and
the other entities without substantial consideration; moved assets between and
among himself and the entities in order to avoid and evade payment obligations and
to suit his personal whims and expenditures; and failed to maintain minutes or other
corporate records and keep legitimate accounting books and financial records.
Given these and other facts and circumstances, adherence to the fiction of the
separate existence of these entities from Williams and from each other would

permit an abuse of the corporate privilege and would promote injustice.

FIRST CLAIM FOR RELIEF

For Violations of Section 10(b) of the Exchange Act and Rule 10b-5

(Against Defendant Williams, and his Alter Egos Legacy, Bipartisan Coalition,
Highgate, Moment Factory, Luxe One, Visions, and Garuda)

97. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 96, inclusive, as if fully set forth herein.

98. As hereinabove alleged, Williams fraudulently induced Plaintiffs to
transfer a total of $10,900,000 in exchange for equity ownership in various entities

for purported rights to participate in certain feature films’ net revenues, by

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intentionally misrepresenting material facts regarding the investments and by
actively concealing the truth regarding the investments, so that Williams and his
cohorts could convert Plaintiffs’ funds for their own unauthorized and wrongful use
and enjoyment.

99. Busbice (through Olla) transferred $2,000,000 to a Luxe One Chase
bank account under Williams’ control on July 3, 2013, based on Williams’
representations in June and early July 2013 that, inter alia: (a) Williams had an
agreement in place with Big Screen to make a $10,000,000 P&A loan for The
Letters, which was to be repaid with interest from the film’s net revenues and was
to be secured in first position by such revenues; (b) Williams, through his company
NLFI, had already contributed $2,000,000 of his own money to Luxe One for
purposes of the deal; (c) Chart already contributed $6,000,000 to Luxe One for
purposes of the deal; (d) all of the representations regarding the purported P&A
loan opportunity contained in the Letters Term Sheet were true and accurate; and
(e) all of the funds contributed to Luxe One were for the sole purpose of making the
purported P&A loan for The Letters’ release, and the funds would not be used for
another purpose.

100. Those representations were made in connection the purchase and sale
of a security, as that term is used in the Exchange Act.

101. Based on the True MF/Luxe Bank Statements and other facts alleged
hereinabove, each of those representations was false.

102. Williams knew that each those representations were false when each
was made. Alternatively, Williams made the representations with extreme
recklessness and without any regard for their truth.

103. Williams intended that Plaintiffs rely upon each of those
representations, and Williams made them to fraudulently induce Busbice/Olla to

part with their $2,000,000.

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104. Each of those representations was material to Plaintiffs’ decision to
take part in the investment presented by Williams. Plaintiffs would not have
invested had they known the truth of the representations’ matters.

105. As Williams’ intended, Plaintiffs actually and reasonably relied upon
each of those representations in parting with their $2,000,000 on July 3, 2013.

106. Busbice (through Olla) transferred an additional $4,000,000 to the
Luxe One Chase Bank account under Williams’ control on January 2, 2014, based
on those same representations, as well as additional representations made or
directed by Williams, including, inter alia: (a) Williams’ representation in the Fall
of 2013 that because The Letters was viewed as such a strong film, he was able to
negotiate a new and enhanced deal with Big Screen to loan up to $22,000,000 for
the film’s P&A spend and to pay Big Screen $1,750,000 in finishing funds in return
for an equity stake in Big Screen; (b) Williams’ representations throughout the Fall
of 2013 and continuing through December 2013 that an additional $12,000,000 was
needed to carry out the P&A investment opportunity for The Letters, but that
Williams (through NLFI) and Chart were both contributing an additional
$4,000,000, leaving a $4,000,000 deficit needed from Plaintiffs; (c) that the Letters
Credit Facility Agreement presented by Williams to Plaintiffs on or about
December 13, 2013 was a bona fide fully executed agreement between Luxe One
and Big Screen; (d) Williams’ counsel’s e-mail on December 16, 2013 and
numerous confirmatory statements representing that Chart and NLFI contributed
their additional $4,000,000, that Luxe One paid the $1,750,000 in finishing funds to
Big Screen, and that Luxe One had documentation reflecting its ownership of 35 of
the 400 authorized shares of Big Screen stock; (e) Williams’ representation on
December 18, 2013 that the Purported 12/17 Luxe One Balance Statement
accurately reflected the Luxe One Chase Bank account’s current balance as of
December 17, 2013; and (f) Williams’ representation on December 18, 2013 that

the Purported Big Screen Cancelled Checks were genuine copies of cancelled

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checks reflecting Luxe One’s payment of the $1,750,000 in finishing funds to Big
Screen out of existing funds prior to Plaintiffs’ $4,000,000 investment.

107. Those additional representations were made in connection the
purchase and sale of a security as that term is used in the Exchange Act.

108. Based on the True MF/Luxe Bank Statements and other facts alleged
hereinabove, each of those representations was false.

109. Williams knew that each those representations were false when each
was made. Alternatively, Williams made the representations with extreme
recklessness and without any regard for their truth.

110. Williams intended that Plaintiffs rely upon each of those
representations, and Williams made them to fraudulently induce Busbice/Olla to
part with their additional $4,000,000.

111. Each of those representations was material to Plaintiffs’ decision to
participate further in the investment presented by Williams. Plaintiffs would not
have invested had they known the truth of the representations’ matters.

112. As Williams intended, Plaintiffs actually and reasonably relied upon
each of these representations in investing an additional $4,000,000 on January 2,
2014.

113. Busbice (through Olla) transferred $2,000,000 to a Moment Factory
Chase Bank account under Williams’ control on October 30, 2013, based on
Williams’ representations in late October 2013 that, inter alia: (a) Williams had a
deal with DF Indie to make a $4,000,000 P&A loan for Angels Sing, which was
needed for the marketing and advertising of the film and was to be repaid with
interest from the film’s net revenues, and secured in a first position by such
revenues; (b) Williams, through his company Legacy, had already contributed
$2,000,000 of his own money to Moment Factory for purposes of the deal; (c) all of
the representations regarding the purported P&A loan opportunity contained in the
Angels Sing Term Sheet were true and accurate; (d) DF Indie and Lions Gate had

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signed or would be signing the Angels Sing Credit Facility Agreement and Letter of
Direction; (e) that the marketing and budget information for the film provided by
Williams on October 25, 2013 was genuine and the film was expected to have a
wide initial theatrical release to more than 1,000 screens; (f) the Purported 10/28
Moment Factory Balance Statement furnished by Williams on October 29, 2013
accurately reflected the Moment Factory Chase bank account’s current balance as
of October 28, 2013; and (g) all of the funds contributed to Moment Factory were
for the sole purpose of making the purported P&A loan for Angels Sing’s release,
and that the funds would not be used for another purpose.

114. Those representations were made in connection the purchase and sale
of a security as that term is used in the Exchange Act.

115. Based on the True MF/Luxe Bank Statements and other facts alleged
hereinabove, each of those representations was false.

116. Williams knew that each those representations were false when each
was made. Alternatively, Williams made the representations with extreme
recklessness and without any regard for their truth.

117. Williams intended that Plaintiffs rely upon each of those
representations, and Williams made them to fraudulently induce Busbice/Olla to
part with this additional $2,000,000.

118. Each of those representations was material to Plaintiffs’ decision to
participate in the investment presented by Williams. Plaintiffs would not have
invested had they known the truth of the representations’ matters.

119. As Williams intended, Plaintiffs actually and reasonably relied upon
each of those representations in investing $2,000,000 on October 30, 2013.

120. Busbice (through Olla) invested $2,400,000 in the Left Behind
investment on August 12, 2013 based on Williams’ representations in August 2013
that, inter alia: (a) Williams was funding most of the film’s $15,000,000 budget
himself; (b) the Left Behind Agreement would govern Olla’s rights and obligations

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vis-a-vis the film’s producers and therefore entitle Olla to, among other things, the
Participation Interest identified in the agreement; and (c) the Left Behind investment
would be registered in Olla’s name and Olla, rather than Williams or any other
defendant or controlled entity, would receive the benefits of that investment.

121. Those representations were made in connection the purchase or sale of
a security as that term is used in the Exchange Act.

122. Based on all of the facts alleged hereinabove, each of those
representations was false.

123. Williams knew that each of those representations were false when each
was made. Alternatively, Williams made the representations with extreme
recklessness and without any regard for their truth.

124. Williams intended that Plaintiffs rely upon each of those
representations, and Williams made them to fraudulently induce Busbice/Olla to
part with their $2,400,000.

125. Each of those representations was material to Plaintiffs’ decision to
participate in the Left Behind investment. Plaintiffs would not have invested had
they known the truth of the representations’ matters.

126. As Williams intended, Plaintiffs actually and reasonably relied upon
each of those representations in parting with their $2,400,000 on October 12, 2013.

127. Ecibsub invested $500,000 in the Made in America investment on
April 26, 2013 based on Williams’ representations in April 2013 that, inter alia: (a)
Williams was contributing his own $500,000 toward the investment; (b) the
Purported 4/15/13 Wire Confirmation sent by Williams to reflect his own $500,000
investment was genuine; (c) the Purported 4/24/13 Screenshot sent by Williams to
reflect his own $500,000 investment was genuine; and (d) all invested funds would
be applied to Made in America’s production budget and inure to the benefit of the

film and the parties’ equity ownership in Visions.

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128. Those representations were made in connection with the purchase and
sale of a security as that term is used in the Exchange Act.

129. Based on all of the facts alleged hereinabove, each of those
representations was false.

130. Williams knew that each those representations were false when each
was made. Alternatively, Williams made the representations with extreme
recklessness and without any regard for their truth.

131. Williams intended that Plaintiffs rely upon each of those
representations, and Williams made them to fraudulently induce Ecibsub to part
with its $500,000.

132. Each of those representations was material to Plaintiffs’ decision to
participate in the Made in America investment. Plaintiffs would not have invested
had they known the truth of the representations’ matters.

133. As Williams intended, Plaintiffs actually and reasonably relied upon
each of those representations in parting with their $500,000 on April 26, 2013.

134. At all relevant times, Williams also actively and deliberately concealed
the true facts regarding the above-alleged purported investments by, inter alia: (a)
failing to provide documents and other information, including accounting and
financial records and key contracts, despite Plaintiffs’ repeated requests for such
information; (b) ignoring and deflecting Plaintiffs’ repeated requests for such
information; (c) creating and providing the 3/19/14 Letter and the enclosed
Purported Luxe One July-Dec. Financial Records, which were proved materially
false by the True MF/Luxe Bank Statements; and (d) creating and sending the
Purported Luxe One Jan-Feb Statements, which were proved materially false by the
True MF/Luxe Bank Statements.

135. Williams intended to conceal the true facts regarding the above-alleged

deals to induce Plaintiffs to part with their funds and then to prevent Plaintiffs from

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discovering the truth, so that Williams could continue to wrongfully convert
Plaintiffs’ funds and enrich himself and his cohorts without being detected.

136. Plaintiffs were and remained unaware of the concealed and true facts
regarding the above-alleged investments until after Plaintiffs received the True
MEF/Luxe Bank Statements.

137. Despite demand, Williams has not returned and Plaintiffs have not
recouped any part of the $10,900,000 transferred for the above-alleged investments.

138. In committing the above-alleged misconduct, Williams directly and
indirectly used the means and instrumentalities of interstate commerce, including,
but not limited to, the United States mails and interstate wire and telephone
communications.

139. By virtue of the foregoing, Williams has violated Section 10(b) of the
Exchange Act and Rule 10b-5 promulgated thereunder.

140. The statutory safe harbor provided for forward-looking statements
under certain circumstances does not apply to any of the allegedly false statements
pleaded in this complaint. The statements alleged to be false and misleading herein
all relate to then-existing facts and conditions. In addition, to the extent certain of
the statements alleged to be false may be characterized as forward looking, they
were not identified as “forward-looking statements” when made and there were no
meaningful cautionary statements identifying important factors that could cause
actual results to differ materially from those in the purportedly forward-looking
statements. In the alternative, to the extent that the statutory safe harbor is
determined to apply to any forward-looking statements pleaded herein, Williams is
liable for those false forward-looking statements because at the time each of those
forward-looking statements was made, Williams had actual knowledge that the

forward-looking statement was materially false or misleading.

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141. Asa direct and proximate result of Williams’ wrongful conduct,
Plaintiffs have sustained damages in an amount not less than $10,900,000, the exact
sum to be proven at trial.

142. As alleged hereinabove, Plaintiffs are informed and believe, and on
that basis allege, that there existed a unity of interest and ownership between and
among Williams, Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe
One, Visions and Garuda, such that any individuality and separateness between
these defendants ceased, and that adherence to the fiction of the separate existence
of these entities from Williams and from each other would permit an abuse of the

corporate privilege and would promote injustice.

SECOND CLAIM FOR RELIEF
For Violation of California Corporations Code Section 25401
(Against Defendant Williams, and his Alter Egos Legacy, Bipartisan Coalition,
Highgate, Moment Factory, Luxe One, Visions and Garuda)

143. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein.

144. By virtue of the foregoing, Williams has violated California
Corporations Code section 25401, and Plaintiffs are entitled to rescind the above-
alleged securities purchases pursuant to California Corporations Code section
25501, and to have the total $10,900,000 purchase price reimbursed.

145. Before entry of judgment, Plaintiffs will tender the securities, from
which, to date, Plaintiffs have received no income.

146. As alleged hereinabove, Plaintiffs are informed and believe, and on
that basis allege, that there existed a unity of interest and ownership between and
among Williams, Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe
One, Visions and Garuda, such that any individuality and separateness between

these defendants ceased and that adherence to the fiction of the separate existence

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of these entities from Williams and from each other would permit an abuse of the

corporate privilege and would promote injustice.

THIRD CLAIM FOR RELIEF
For Common Law Fraud
(Against Defendant Williams, and his Alter Egos Legacy, Bipartisan Coalition,
Highgate, Moment Factory, Luxe One, Visions and Garuda)

147. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein.

148. As hereinabove alleged, Williams fraudulently induced Plaintiffs to
transfer a total of $10,900,000 for purported rights to participate in the proceeds
derived from the distribution and commercial exploitation of certain feature films’
in the form of priority loan repayments plus interest and net revenues, by
intentionally misrepresenting material facts regarding the investments and by
actively concealing the truth regarding the investments, so that Williams and his
cohorts could convert Plaintiffs’ funds for their own unauthorized and wrongful use
and enjoyment.

149. By virtue of the foregoing, Williams has committed common law
fraud.

150. Asa direct and proximate result of Williams’ fraudulent
misrepresentations and concealment, Plaintiffs have sustained damages in an
amount not less than $10,900,000, the exact sum to be proven at trial.

151. Williams’ conduct, as alleged herein, was done willfully and with a
conscious disregard of Plaintiffs’ rights and with intent to injure, so as to constitute
oppression, fraud and/or malice under California Civil Code section 3294, entitling
Plaintiffs to punitive damages.

152. As alleged hereinabove, Plaintiffs are informed and believe, and on

that basis allege, that there existed a unity of interest and ownership between and

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among Williams, Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe
One, Visions and Garuda, such that any individuality and separateness between

these defendants ceased and that adherence to the fiction of the separate existence
of these entities from Williams and from each other would permit an abuse of the

corporate privilege and would promote injustice.

FOURTH CLAIM FOR RELIEF
For Breach of Fiduciary Duty
(Against Defendant Williams, and his Alter Egos Legacy, Bipartisan Coalition,
Highgate, Moment Factory, Luxe One, Visions and Garuda)

153. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein.

154. At all relevant times, a fiduciary relationship existed between Williams
and Busbice in connection with the above-alleged investments. This relationship
existed by virtue of the facts that, inter alia: (a) Williams held himself out as an
experienced film industry insider, and claimed to have and control the purported
deals with the films’ producers; (b) Williams structured the deals, made all the
arrangements and controlled the finances of each deal; (c) Williams was the
supposed managing director and officer of Luxe One, and Busbice (through Olla)
was merely a minority shareholder and passive participant; (d) Williams (through
Legacy) and Busbice (through Olla) were purported co-members of Moment
Factory; however, Williams in fact exercised complete control over the company;
(e) Williams exercised full control over the businesses’ bank accounts and financial
affairs, as well as their purported negotiations and dealings with others in
connection with movie deals; (f) Williams exercised complete control over the
companies and their affairs, whereas Busbice’s role was that of passive investor;

and (g) the parties understood that Busbice was relying on Williams’ purported

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experience and expertise to manage the business affairs of the investment entities
honestly, faithfully and skillfully.

155. As aresult of that fiduciary relationship, at all relevant times Williams
owed Plaintiffs the fiduciary duties of good faith, due care and loyalty.

156. As hereinabove alleged, Williams induced Plaintiffs to transfer a total
of $10,900,000 for purported rights to participate in certain feature films’ net
revenues, by intentionally misrepresenting material facts regarding the investments
and by actively concealing the truth regarding the investments, so that Williams and
his cohorts could convert Plaintiffs’ funds for their own unauthorized and wrongful
use and enjoyment.

157. By engaging in the above-alleged acts and omissions, Williams
breached his fiduciary duties to Plaintiffs.

158. Asa direct and proximate result of Williams’ breaches, Plaintiffs have
sustained damages in an amount not less than $10,900,000, the exact sum to be
proven at trial.

159. Williams’ breaches of fiduciary duties owed to Plaintiffs were
committed with fraud, oppression, and/or malice, entitling Plaintiffs to punitive
damages under California Civil Code section 3294.

160. As alleged hereinabove, Plaintiffs are informed and believe, and on
that basis allege, that there existed a unity of interest and ownership between and
among Williams, Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe
One, Visions and Garuda, such that any individuality and separateness between
these defendants ceased and that adherence to the fiction of the separate existence
of these entities from Williams and from each other would permit an abuse of the

corporate privilege and would promote injustice.

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FIFTH CLAIM FOR RELIEF
For Constructive Fraud
(Against Defendant Williams and his Alter Egos Legacy, Bipartisan Coalition,
Highgate, Moment Factory, Luxe One, Vision and Garuda)

161. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein.

162. At all relevant times, a fiduciary relationship existed between Williams
and Busbice in connection with the above-alleged investments. This relationship
existed by virtue of the facts that, inter alia: (a) Williams held himself out as an
experienced film industry insider, and claimed to have and control the purported
deals with the films’ producers; (b) Williams structured the deals, made all the
arrangements and controlled the finances of each deal; (c) Williams was the
supposed managing director and officer of Luxe One, and Busbice (through Olla)
was merely a minority shareholder and passive participant; (d) Williams (through
Legacy) and Busbice (through Olla) were purported co-members of Moment
Factory; however, Williams in fact exercised complete control over the company;
(e) Williams exercised full control over the businesses’ bank accounts and financial
affairs, as well as their purported negotiations and dealings with others in
connection with movie deals; (f) Williams exercised complete control over the
companies and their affairs, whereas Busbice’s role was that of passive investor;
and (g) the parties understood that Busbice was relying on Williams’ purported
experience and expertise to manage the business affairs of the investment entities
honestly, faithfully and skillfully.

163. As hereinabove alleged, Williams induced Plaintiffs to transfer a total
of $10,900,000 for purported rights to participate in the net revenues of certain
feature films by misrepresenting material facts regarding the investments and by

failing to disclose material facts regarding the investments.

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164. Asa direct and proximate result of Williams’ above-alleged
misrepresentations, failures to disclose and breaches of duty, Williams has gained
an advantage at Plaintiffs’ expense.

165. Plaintiffs allege, in the alternative, that even if Williams’ conduct did
not constitute actual fraud, it constituted constructive fraud.

166. Asa direct and proximate result of such constructive fraud, Plaintiffs
have sustained damages in an amount not less than $10,900,000, the exact sum to
be proven at trial.

167. Williams’ above-alleged conduct was carried out with fraud,
oppression, and/or malice, entitling Plaintiffs to punitive damages under California
Civil Code section 3294.

168. As alleged hereinabove, Plaintiffs are informed and believe, and on
that basis allege, that there existed a unity of interest and ownership between and
among Williams, Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe
One, Visions and Garuda, such that any individuality and separateness between
these defendants ceased and that adherence to the fiction of the separate existence
of these entities from Williams and from each other would permit an abuse of the

corporate privilege and would promote injustice.

SIXTH CLAIM FOR RELIEF
For Negligent Misrepresentation
(Against Defendant Williams and his Alter Egos Legacy, Bipartisan Coalition,
Highgate, Moment Factory, Luxe One, Visions and Garuda)

169. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein.

170. Atall relevant times, a fiduciary relationship existed between Williams
and Busbice in connection with the above-alleged investments. This relationship

existed by virtue of the facts that, inter alia: (a) Williams held himself out as an

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COMPLAINT

 
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experienced film industry insider, and claimed to have and control the purported
deals with the films’ producers; (b) Williams structured the deals, made all the
arrangements and controlled the finances of each deal; (c) Williams was the
supposed managing director and officer of Luxe One, and Busbice (through Olla)
was merely a minority shareholder and passive participant; (d) Williams (through
Legacy) and Busbice (through Olla) were purported co-members of Moment
Factory; however, Williams in fact exercised complete control over the company;
(e) Williams exercised full control over the businesses’ bank accounts and financial
affairs, as well as their purported negotiations and dealings with others in
connection with movie deals; (f) Williams exercised complete control over the
companies and their affairs, whereas Busbice’s role was that of passive investor;
and (g) the parties understood that Busbice was relying on Williams’ purported
experience and expertise to manage the business affairs of the investment entities
honestly, faithfully and skillfully.

171. As hereinabove alleged, Williams induced Plaintiffs to transfer a total
of $10,900,000 for purported rights to participate in the net revenues of certain
feature films by misrepresenting material facts regarding the investments and by
failing to disclose material facts regarding the investments.

172. Plaintiffs allege, in the alternative, that if Williams did not make the
above-alleged misrepresentations intentionally, then Williams had no reasonable
grounds for believing that those representations were true when made and made
such representations negligently.

173. Asa direct and proximate result of such negligence, Plaintiffs have
sustained damages in an amount not less than $10,900,000, the exact sum to be
proven at trial.

174. As alleged hereinabove, Plaintiffs are informed and believe, and on
that basis allege, that there existed a unity of interest and ownership between and

among Williams, Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe

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COMPLAINT

 
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One, Visions and Garuda, such that any individuality and separateness between
these defendants ceased and that adherence to the fiction of the separate existence
of these entities from Williams and from each other would permit an abuse of the

corporate privilege and would promote injustice.

SEVENTH CLAIM FOR RELIEF
For Civil Conspiracy to Defraud
(Against Defendants Williams, Brown, and Seppala, and Williams’ Alter Egos
Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe One, Visions
and Garuda, and Does 1-50)

175. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein.

176. Defendants Williams, Brown and Seppala, and each of them,
knowingly and willfully conspired and agreed among themselves to fraudulently
induce Plaintiffs to make the hereinabove alleged investments totaling $10,900,000.

177. As hereinabove alleged, Williams fraudulently induced Plaintiffs’
investments by intentionally misrepresenting material facts regarding the
investments and by actively concealing the truth regarding the investments. These
misrepresentations and omissions were done pursuant to, and in furtherance of, the
above-alleged conspiracy and agreement.

178. Defendant Seppala furthered the conspiracy by, inter alia,
misrepresenting that Visions had received Williams’ purported $500,000
contribution toward the initial Made in America deal, by failing to make certain that
Plaintiffs’ investment was fully and directly utilized for the purpose of the
production of Made in America and for no other purpose, and by actively
concealing the fraud.

179. Defendant Brown furthered the conspiracy by, inter alia: (a)

misrepresenting that Williams was investing his own $500,000 in Visions for the

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Made in America deal; (b) by failing to make certain that Plaintiffs’ investment was
fully and directly utilized for the purpose of production of Made in America and for
no other purpose; (c) by knowingly participating in the conversion and dissipation
of Plaintiffs’ funds; (d) by regularly meeting with Busbice, alone or together with
Williams (including an in-person meeting in Los Angeles County), and
misrepresenting the status of the films, the use of the proceeds, the nature and
extent of the financial deception being perpetrated on Plaintiffs and the status of
Plaintiffs’ investments; and (e) by actively concealing defendants’ fraud and failing
to disclose the true facts regarding such matters and the other facts and
circumstances set forth herein.

180. Defendants continue to act in furtherance of the above-described
conspiracy by continuing to conceal and misrepresent the nature and extent of their
conspiracy, fraud and conversion.

181. Asa direct and proximate result of the above-alleged conspiracy and
wrongful acts, Plaintiffs have sustained damages in an amount not less than
$10,900,000, the exact sum to be proven at trial.

182. Defendants’ conduct, as herein alleged, was done willfully and with a
conscious disregard of Plaintiffs’ rights and with intent to injure, so as to constitute
oppression, fraud and/or malice under California Civil Code section 3294, entitling
Plaintiffs to punitive damages.

183. As alleged hereinabove, Plaintiffs are informed and believe, and on
that basis allege, that there existed a unity of interest and ownership between and
among Williams, Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe
One, Visions and Garuda, such that any individuality and separateness between
these defendants ceased and that adherence to the fiction of the separate existence
of these entities from Williams and from each other would permit an abuse of the

corporate privilege and would promote injustice.

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EIGHTH CLAIM FOR RELIEF
For Accounting
(Against Defendants Williams, Luxe One, Moment Factory, and Visions)

184. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein.

185. Atall relevant times, a fiduciary relationship existed between Williams
and Busbice in connection with the above-alleged investments. This relationship
existed by virtue of the facts that, inter alia: (a) Williams held himself out as an
experienced film industry insider, and claimed to have and control the purported
deals with the films’ producers; (b) Williams structured the deals, made all the
arrangements and controlled the finances of each deal; (c) Williams was the
supposed managing director and officer of Luxe One, and Busbice (through Olla)
was merely a minority shareholder and passive participant; (d) Williams (through
Legacy) and Busbice (through Olla) were purported co-members of Moment
Factory; however, Williams in fact exercised complete control over the company;
(e) Williams exercised full control over the businesses’ bank accounts and financial
affairs, as well as their purported negotiations and dealings with others in
connection with movie deals; (f) Williams exercised complete control over the
companies and their affairs, whereas Busbice’s role was that of passive investor;
and (g) the parties understood that Busbice was relying on Williams’ purported
experience and expertise to manage the business affairs of the investment entities
honestly, faithfully and skillfully.

186. As aresult of that fiduciary relationship, at all relevant times Williams
owed Plaintiffs the fiduciary duties of good faith, due care and loyalty.

187. Williams and his alter-ego entities Visions, Moment Factory and Luxe
One also owed Plaintiffs the duty to account for Plaintiffs’ investments and these

dDefendants’ use of Plaintiffs’ funds.

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188. Williams, Visions, Moment Factory and Luxe One have wrongfully
and without proper authorization received and dealt with funds invested by and
rightfully belonging to Plaintiffs.

189. Williams, Visions, Moment Factory and Luxe One owe, but have
refused to provide, an accounting of such funds.

190. Plaintiffs demand that an account be taken of all of Defendants’
dealings and transactions with and relating to the $10,900,000 invested by Plaintiffs
from April 1, 2013 to the present, and that a judgment be entered in favor of
Plaintiffs and against these defendants for any and all sums found to be rightfully
due to Plaintiffs.

NINTH CLAIM FOR RELIEF
For Breach of Contract Implied By Law
(Against Defendants Williams, and his Alter Egos Legacy, Bipartisan
Coalition, Highgate, Moment Factory, Luxe One, Visions and Garuda)

191. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein.

192. As hereinabove alleged, Williams fraudulently induced Plaintiffs to
transfer a total of $10,900,000 for certain purported investments, by intentionally
misrepresenting material facts regarding the investments and by actively concealing
the truth regarding the investments, so that Williams and his cohorts could convert
Plaintiffs’ funds for their own unauthorized and wrongful use and enjoyment.

193. Asaresult of such fraud and misconduct, the law implies a promise on
Williams’ part to return or repay the $10,900,000 to Plaintiffs.

194. Defendant Williams has not returned, and Plaintiffs have not recouped,

any part of the $10,900,000 transferred for the purported investments.

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COMPLAINT

 
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195. As adirect and proximate result of the above-alleged misconduct and
breach of the implied promise, Plaintiffs have sustained damages in an amount not
less than $10,900,000, the exact sum to be proven at trial.

196. As alleged hereinabove, Plaintiffs are informed and believe, and on
that basis allege, that there existed a unity of interest and ownership between and
among Williams, Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe
One, Visions and Garuda, such that any individuality and separateness between
these defendants ceased and that adherence to the fiction of the separate existence
of these entities from Williams and from each other would permit an abuse of the

corporate privilege and would promote injustice.

TENTH CLAIM FOR RELIEF
For Conversion
(Against Defendants Williams, and his Alter Egos Legacy, Bipartisan
Coalition, Highgate, Moment Factory, Luxe One, Visions and Garuda)
197. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein.
198. Defendant Williams intentionally converted $10,900,000 of Plaintiffs’
money for his own use, purposes and personal gain.
199, Williams’ conversion was done secretly, without authorization, and
without Plaintiffs’ knowledge or consent.
200. Williams has not returned, and Plaintiffs have not recouped any part of
the wrongfully converted funds.
201. As adirect and proximate result of Williams’ conversion, Plaintiffs
have suffered damages in an amount not less than $10,900,000, the exact sum to be

proven at trial.

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COMPLAINT

 
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202. Williams’ conduct, as alleged herein, was done willfully and with a
conscious disregard of Plaintiffs’ rights, so as to constitute oppression, fraud and/or
malice under California Civil Code § 3294, entitling Plaintiffs to punitive damages.

203. As alleged hereinabove, Plaintiffs are informed and believe, and on
that basis allege, that there existed a unity of interest and ownership between and
among Williams, Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe
One, Visions and Garuda, such that any individuality and separateness between
these defendants ceased and that adherence to the fiction of the separate existence
of these entities from Williams and from each other would permit an abuse of the

corporate privilege and would promote injustice.

ELEVENTH CLAIM FOR RELIEF
For Conversion
(Against Defendant Brown)

204. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein

205. As reflected in the True MF/Luxe Bank Statements, Defendant Brown,
for his own use, purposes and personal gain, intentionally converted specific sums
from the Luxe One 1572 Account through his use of ATM Debit Card 1507 and
cash withdrawals from the account, which sums, in their aggregate, exceed
$1,500,000. Such expenditures include, without limitation: payments totaling
$185,000 to his own personal lawyers; tens of thousands of dollars at fancy hotels
and restaurants across the country; thousands of dollars at more mundane
establishments such as “Star Liquor,” “CVS,” “TJ Maxx,” “Chipotle”; and
numerous other such personal expenditures.

206. Brown’s conversion was done secretly, without authorization, and

without Plaintiffs’ knowledge or consent.

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207. Brown has not returned, and Plaintiffs have not recouped any part of
the wrongfully converted funds.

208. As a direct and proximate result of Brown’s conversion, Plaintiffs have
suffered damages in an amount not less than $1,500,000, the exact sum to be
proven at trial.

209. Brown’s conduct, as alleged herein, was done willfully and with a
conscious disregard of Plaintiffs’ rights, so as to constitute oppression, fraud and/or

malice under California Civil Code § 3294, entitling Plaintiffs to punitive damages.

TWELFTH CLAIM FOR RELIEF
For Imposition of a Constructive Trust
(Against Defendant Williams and his Alter Egos Legacy, Bipartisan Coalition,
Highgate, Moment Factory, Luxe One, Visions and Garuda)

210. Plaintiffs repeat and incorporate herein by this reference paragraphs |
through 142, inclusive, as if fully set forth herein.

211. Defendant Williams fraudulently converted $10,900,000 of Plaintiffs’
money for his own use, purposes and personal gain.

212. Williams has not returned, and Plaintiffs have not recouped, any part
of the $10,900,000.

213. By virtue of Williams’ wrongful acts, he holds the converted funds, in
the amount of $10,900,000, as well as all assets, property and property interests
acquired in exchange for any of the converted funds, as a constructive trustee for
the benefit of Plaintiffs.

214. Williams committed the above-alleged misconduct with fraud,
oppression, and/or malice, entitling Plaintiffs to punitive damages under California
Civil Code section 3294.

215. As alleged hereinabove, Plaintiffs are informed and believe, and on

that basis allege, that there existed a unity of interest and ownership between and

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COMPLAINT

 
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among Williams, Legacy, Bipartisan Coalition, Highgate, Moment Factory, Luxe
One, Visions and Garuda, such that any individuality and separateness between
these defendants ceased and that adherence to the fiction of the separate existence
of these entities from Williams and from each other would permit an abuse of the
corporate privilege and would promote injustice.
THIRTEENTH CLAIM FOR RELIEF
For Imposition of a Constructive Trust

(Against Defendant Brown)

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10 | through 142, inclusive, as if fully set forth herein
11 217. Defendant Brown intentionally and wrongfully converted specific
12 | sums exceeding $989,224 of Plaintiffs’ money from the Luxe One 1572 Account

13 | for his own use, purposes and personal gain.

14 218. Brown has not returned, and Plaintiffs have not recouped, any part of

15 | the sums converted by Brown.
16 219. By virtue of Brown’s wrongful acts, he holds the converted funds as
17 | well as all assets, property and property interests acquired in exchange for any of
18 | the converted funds, as a constructive trustee for the benefit of Plaintiffs.

19 220. Williams committed the above-alleged misconduct with fraud,

20 || oppression, and/or malice, entitling Plaintiffs to punitive damages under California

21 || Civil Code section 3294.

 

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23 FOURTEENTH CLAIM FOR RELIEF

24 For Imposition of a Constructive Trust

25 (Against Defendant Garuda Partners, Ltd.)

26 221. Plaintiffs repeat and incorporate herein by this reference paragraphs 1

27 | through 142, inclusive, as if fully set forth herein.
28

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216. Plaintiffs repeat and incorporate herein by this reference paragraphs 1

 

 

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222. In February and March 2014, Williams secretly and without
authorization caused over $725,000 to be transferred from the Moment Factory
Chase bank account to purchase the Calabasas Property in the name of Garuda
Partners, Ltd., as Trustee of the Mulholland Ridge Trust.

223. The funds were transferred from the Moment Factory Chase bank
account to an escrow account with First American Title Company for the purchase
of the Calabasas Property. The transfer of the funds for the purchase of the
Calabasas Property was an unconscionable and fraudulent act wholly outside the
business purpose and due authority of Moment Factory.

224. Defendant Garuda Partners, Ltd. acquired the Calabasas Property,
purportedly as Trustee of the Mulholland Ridge Trust, without using any of its own
funds and/or with actual or constructive knowledge or notice of the facts, thereby
entitling Plaintiffs to the imposition of a constructive trust over the funds used to
acquire the Calabasas Property.

225. By virtue of the foregoing, Defendant Garuda Partners, Ltd. holds the
Calabasas Property, all assets, property and property interests acquired in exchange
for any part of the Calabasas Property, and all profits and rents derived from any

part of the Calabasas Property, as a constructive trustee for Plaintiffs’ benefit.

FIFTEENTH CLAIM FOR RELIEF
For Imposition of a Constructive Trust
(Against Defendants Legacy, Bipartisan Coalition, Highgate, and Does 1-50)

226. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein.

227. As hereinabove alleged, Williams fraudulently induced Plaintiffs to
transfer a total of $10,900,000 for certain purported investments, by intentionally
misrepresenting material facts regarding the investments and by actively concealing

the truth regarding the investments, and the unauthorized use of the investment

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COMPLAINT

 
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funds, so that Williams and his cohorts could convert Plaintiffs’ funds for their own
unauthorized and wrongful use and enjoyment.

228. Defendants Legacy, Bipartisan Coalition, Highgate and Does 1-50, and
each of them, received a part or parts of the converted funds, and/or received
property or property interests that were acquired in exchange for such funds, for no
value (or de minimis value) and/or with actual or constructive knowledge or notice
of the facts giving rise to the constructive trust.

229. By virtue of the foregoing, Defendants Legacy, Bipartisan Coalition,
Highgate and Does 1-50 hold the funds, property and/or property interests so
received by them, and all assets, property and/or property interests received in
exchange for any part of such funds, property and/or property interests, as a

constructive trustee for the benefit of Plaintiffs.

SIXTEENTH CLAIM FOR RELIEF
For Avoidance and Recovery of the Fraudulent Transfer of the Calabasas
Property pursuant to Civil Code §§ 3439.01 et seq. and California Common
Law
(Against Defendants Williams, Moment Factory and
Garuda Partners, Ltd. and Does 1-50)
230. Plaintiffs repeat and incorporate herein by this reference paragraphs 1
through 142, inclusive, as if fully set forth herein
231. As hereinabove alleged, Williams fraudulently induced Plaintiffs to
transfer a total of $10,900,000 for certain purported investments, by intentionally
misrepresenting material facts regarding the investments and the unauthorized use
of the investment funds, and by actively concealing the truth regarding the
investments, so that Williams and his cohorts could convert Plaintiffs’ funds for

their own unauthorized and wrongful use and enjoyment.

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232. In February and March 2014, Williams secretly and without
authorization caused over $725,000 to be transferred from the Moment Factory
Chase bank account to purchase the Calabasas Property in the name of Garuda
Partners, Ltd., as Trustee of The Mulholland Ridge Trust (the “Calabasas Property
Transfer’).

233. The funds were transferred from the Moment Factory Chase bank
account to an escrow account with First American Title Company for the purchase
of the Calabasas Property. The transfer of the funds to effectuate the Calabasas
Property Transfer was an unconscionable and fraudulent act wholly outside the
business purpose and due authority of Moment Factory.

234. Williams and Moment Factory are and were each at all relevant times
a debtor within the meaning of California Civil Code section 3429,

235. Plaintiffs are and were each at all relevant times a creditor within the
meaning of California Civil Code section 3430.

236. The Calabasas Property Transfer constituted a fraudulent transfer
under California Civil Code sections 3439.04(a)(1), 3439.04(a)(2) and 3439.05, and
California common law, in that it was orchestrated by Williams with the actual
intent to hinder, delay and defraud Plaintiffs, while Williams and Moment Factory
were insolvent, and without receiving reasonably equivalent value in exchange for
the Calabasas Property transfer.

237. Defendant Garuda Partners, Ltd. acquired the Calabasas Property
without giving any value (or de minimis value) in return and/or with actual or
constructive knowledge or notice of the above-alleged fraud.

238. Plaintiffs are informed and believe, and on that basis allege, that
Garuda Partners, Ltd. is an entity owned and/or controlled by Williams.

239. Plaintiffs are informed and believe, and on that basis allege, that

Garuda Partners, Ltd. colluded with Williams to accomplish the fraudulent

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Calabasas Property Transfer, knowing and agreeing to his fraudulent purposes, and
aiding in the commission of the Calabasas Property Transfer.

240. Pursuant to California Civil Code section 3439.07, Plaintiffs are
entitled to and seek a judgment declaring the Calabasas Property Transfer void as to
Plaintiffs, as well as to attach and/or impose a constructive trust upon the Calabasas
Property and/or the proceeds thereof. Plaintiffs are further entitled to and seek a
receiver to take hold of the Calabasas Property and/or the proceeds thereof.
Plaintiffs are further entitled to a preliminary and permanent injunction barring
transfer or dissipation of the Calabasas Property and/or the proceeds thereof,
whether in the hands of Garuda Partners, Ltd., any other defendant, or otherwise.

241. Pursuant to California Civil Code section 3439.08, Plaintiffs are
entitled to a recover a money judgment against Defendants Williams, Moment
Factory and Garuda Partners, Ltd. and any subsequent transferee other than a good
faith bona fide purchaser for value.

242. In participating in the above-alleged fraudulent transfers, defendants
acted in bad faith, and with oppression, fraud and malice, entitling Plaintiffs to an

award of punitive damages.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs respectfully pray for judgment, as follows:
FIRST CLAIM FOR RELIEF

1. For compensatory damages in an amount to be proven at trial, but no
less than $10,900,000;

2. For rescission of Plaintiffs’ purchase of securities and restitution in an
amount to be proven at trial, but not less than $10,900,000 as the original
consideration paid for the securities;

3. For prejudgment interest on the original consideration at the legal rate

from each date of purchase;

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1 4. For imposition of a constructive trust on all moneys paid to defendants
2 | and on any and all proceeds received by any defendant from any sale or transfer of
3 | the consideration paid by Plaintiffs, or from any other sale or transfer of
4 | defendants’ assets or securities after the dates of Plaintiffs’ purchase of securities;
5 5. For costs and expenses incurred in this litigation, including reasonable
6 | attorneys’ fees; and
7 6. For such other and further relief as this Court deems just and proper.
8 SECOND CLAIM FOR RELIEF
9 7. For rescission of Plaintiffs’ purchase of securities and restitution in an
10 | amount to be proven at trial, but not less than $10,900,000 as the original
11 | consideration paid for the securities;
12 8. For prejudgment interest on the original consideration at the legal rate
13 | from each date of purchase;
14 9. For imposition of a constructive trust on all moneys paid to defendants
15 | and on any and all proceeds received by any defendant from any sale or transfer of
16 | the consideration paid by Plaintiffs, or from any other sale or transfer of
17 || defendants’ assets or securities after the dates of Plaintiffs’ purchase of securities;
18 10. For costs and expenses incurred in this litigation; and
19 11. For such other and further relief as this Court deems just and proper.
20 THIRD CLAIM FOR RELIEF
21 12. For compensatory damages in an amount to be proven at trial, but no
22 | less than $10,900,000;
23 13. For rescission of Plaintiffs’ purchase of securities and restitution in an
24 | amount to be proven at trial, but not less than $10,900,000 as the original
25 | consideration paid for the securities;
26 14. For prejudgment interest on the original consideration at the legal rate
27 | from each date of purchase;
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1 15. For imposition of a constructive trust on all moneys paid to defendants

2 || and on any and all proceeds received by any defendant from any sale or transfer of

3 | the consideration paid by Plaintiffs or from any other sale or transfer of defendants’

4 | assets or securities after the dates of Plaintiffs’ purchase of securities;

5 16. For exemplary or punitive damages in an amount to be proven at trial;

6 17. For costs and expenses incurred in this litigation; and

7 18. For such other and further relief as this Court deems just and proper.

8 FOURTH CLAIM FOR RELIEF

9 19. For compensatory damages in an amount to be proven at trial, but no
10 | less than $10,900,000;
1] 20. For imposition of a constructive trust on all moneys paid to defendants
12 | and on any and all proceeds received by any defendant derived from such moneys
13 | received and/or from any sale or transfer of the consideration paid by Plaintiffs or
14 | from any other sale or transfer of defendants’ assets or securities after the dates of
15 | Plaintiffs’ purchase of securities;
16 21. For exemplary or punitive damages in an amount to be proven at trial;
17 22. For costs and expenses incurred in this litigation; and
18 23. For such other and further relief as this Court deems just and proper.
19 FIFTH CLAIM FOR RELIEF
20 24. For compensatory damages in an amount to be proven at trial, but no
21 | less than $10,900,000;
22 25. For imposition of a constructive trust on all moneys paid to defendants
23 | and on any and all proceeds received by any defendant derived from such moneys
24 | received and/or from any sale or transfer of the consideration paid by Plaintiffs or
25 | from any other sale or transfer of defendants’ assets or securities after the dates of
26 | Plaintiffs’ purchase of securities;
27 26. For exemplary or punitive damages in an amount to be proven at trial;
28 27. For costs and expenses incurred in this litigation; and

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COMPLAINT

 

 
TROUTMAN SANDERS LLP

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Case 2:14-cv-04077-PA-AJW Document1 Filed 05/28/14 Page 56 of65 Page ID #:61

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28. For such other and further relief as this Court deems just and proper.
SIXTH CLAIM FOR RELIEF

29. For compensatory damages in an amount to be proven at trial, but no
less than $10,900,000;

30. For costs and expenses incurred in this litigation; and

31. For such other and further relief as this Court deems just and proper.

SEVENTH CLAIM FOR RELIEF

32. For compensatory damages in an amount to be proven at trial, but no
less than $10,900,000;

33. For exemplary or punitive damages in an amount to be proven at trial;

34. For costs and expenses incurred in this litigation; and

35. For such other and further relief as this Court deems just and proper.

EIGHTH CLAIM FOR RELIEF

36. For an accounting of Williams’ dealings and transactions with and
relating to the $10,900,000 invested by Plaintiffs from April 1, 2013 to the present;
and

37. For such other and further relief as this Court deems just and proper.

NINTH CLAIM FOR RELIEF

38. For compensatory damages in an amount to be proven at trial, but no
less than $10,900,000;

39. For costs and expenses incurred in this litigation; and

40. For such other and further relief as this Court deems just and proper.

TENTH CLAIM FOR RELIEF

 

41. For compensatory damages in an amount to be proven at trial, but no
less than $10,900,000;
42. For imposition of a constructive trust on all moneys converted by

defendants and on any and all proceeds, assets, property or other property interests

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COMPLAINT

 
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received or acquired by any defendant from any use or transfer of the converted

 

funds;
43. For exemplary or punitive damages in an amount to be proven at trial;
44. For costs and expenses incurred in this litigation; and
45. For such other and further relief as this Court deems just and proper.
ELEVENTH CLAIM FOR RELIEF
46. For compensatory damages in an amount to be proven at trial, but no
less than $1,500,000.
47. For imposition of a constructive trust on all moneys converted by

defendants and on any and all proceeds, assets, property or other property interests

received or acquired by any defendant from any use or transfer of the converted

For exemplary or punitive damages in an amount to be proven at trial;
For costs and expenses incurred in this litigation; and
For such other and further relief as this Court deems just and proper.

TWELFTH CLAIM FOR RELIEF

For imposition of a constructive trust on all moneys paid to defendants

and on any and all proceeds received by any defendant from any sale or transfer of
the consideration paid by Plaintiffs or from any other sale or transfer of defendants’
assets or securities after the dates of Plaintiffs’ purchase of securities;
52.
53,
54,

For exemplary or punitive damages in an amount to be proven at trial;

For costs and expenses incurred in this litigation; and

For such other and further relief as this Court deems just and proper.
THIRTEENTH CLAIM FOR RELIEF

For imposition of a constructive trust on all amounts received, diverted

or taken by Brown from the moneys invested by Plaintiffs and/or from the funds in

the Luxe One and/or Moment Factory Chase bank accounts, and on any and all

- 56 -
COMPLAINT

 
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Case 2:14-cv-04077-PA-AJW Document1 Filed 05/28/14 Page 58 of 65 Page ID #:63

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proceeds, assets, property and/or other property interests received or acquired by
Brown from any use or transfer of such moneys;

56. For exemplary or punitive damages in an amount to be proven at trial;

57. For costs and expenses incurred in this litigation; and

58. For such other and further relief as this Court deems just and proper.

FOURTEENTH CLAIM FOR RELIEF

59. For imposition of a constructive trust on the Calabasas Property, all
property and property interests acquired in exchange for any part of the Calabasas
Property, and all profits, rents or other value derived from any part of the Calabasas
Property;

60. For costs and expenses incurred in this litigation; and

61. For such other and further relief as this Court deems just and proper.

FIFTEENTH CLAIM FOR RELIEF

62. For imposition of a constructive trust all amounts received by
defendants from the moneys invested by Plaintiffs, and on any and all property,
property interests or other value acquired by defendants in exchange for any such
moneys;

63. For costs and expenses incurred in this litigation; and

64. For such other and further relief as this Court deems just and proper.

SIXTEENTH CLAIM FOR RELIEF

65. For an order declaring the Calabasas Property Transfer avoided as to
Plaintiffs;

66. For an order awarding recovery of the Calabasas Property and the
proceeds thereof, or the value of the Calabasas Property transferred, in an amount
necessary to satisfy defendants’ debts to Plaintiffs;

67. For general damages according to proof at trial, in an amount not less
than $725,000;

68. For attachment as specified;

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COMPLAINT

 
TROUTMAN SANDERS LLP

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Case 2:14-cv-04077-PA-AJW Document1 Filed 05/28/14 Page 59o0f65 Page ID #:64

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trial;

Dated: May 28, 2014

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For imposition of a constructive trust as specified;
For appointment of a receiver as specified;
For preliminary and permanent injunctive relief as specified;

For punitive and exemplary damages in an amount to be proven at

For prejudgment interest; and

For such other and further relief as this Court deems just and proper.

TROUTMAN SANDERS LLP
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Paul L. Gale
Thomas H. Prouty

Attorneys for Plaintiffs

BILL A. BUSBICE, JR., OLLA
PRODUCTIONS, LLC, and
ECIBSUB, LLC

- 58 -

 

 

COMPLAINT

 
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5 PARK PLAZA

Suite 1400
Irving, CA 92614-2545

Case 2:14-cv-04077-PA-AJW Document1 Filed 05/28/14 Page 60 of 65 Page ID #:65

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JURY DEMAND

Plaintiffs demand trial by jury on all issues and claims so triable.

Dated: May 28, 2014

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TROUTMAN SANDERS LLP

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Paul L. Gale
Thomas H. Prouty

Attorneys for Plaintiffs

BILL A. BUSBICE, JR., OLLA
PRODUCTIONS, LLC, and
ECIBSUB, LLC

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COMPLAINT

 
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
CENTRAL DISTRICT OF CALIFORNIA

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8/14 Page 61 0f 65 Page ID #:66

 

 

BILL A. BUSBICE, JR., an individual; OLLA
PRODUCTIONS, LLC, a limited liability company;
and ECIBSUB, LLC, a limited liability company,

Plaintiff(s}
Vv.

JAMES DAVID WILLIAMS, an individual; STEVEN
J. BROWN, an individual; GERALD R. SEPPALA, an
individual; LEGACY FILM CREST, LLC, a limited
liability company; MOMENT FACTORY, LLC, a
Iumnited liability company; LUXE ONE, INC., a
corporation; VISIONS LLC, a limited liability
company; BIPARTISAN COALITION FOR
AMERICAN SECURITY CORPORATION, a
corporation; HIGHGATE PASS, LLC, a limited
liability company; GARUDA PARTNERS, LTD., an
unknown entity, as Trustee of The Mulholland Ridge
Trust; and DOES 1 — {0, inclusive,

Defendant(s)

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Civil Action No.

 

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SUMMONS IN A CIVIL ACTION

To: ¢ Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a){2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

PAUL L. GALE, Bar No. 065873
TROUTMAN SANDERS LLP
5 Park Plaza, Suite 1400, Irvine, CA 92614 (949) 622-2700

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.

You also must file your answer or motion with the court.

Date: S—2§- ( J

   

  

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Case 2:14-cv-04077-PA-AJW Document1 Filed 05/28/14 Page 62 0f65 Page ID #:67

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No.

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title. if anv)

 

was received by me on (date)

 

[_] I personally served the summons on the individual at (place)

 

On (datey > OF

 

[_} I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

[| I served the summons on (name of individual) . Who is

 

designated by law to accept service of pracess on behalf of (name of organization)

 

 

 

on (date) ; or
[_} I returned the summons unexecuted because 5 or
(_] Other (specify:
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:

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Case 2:14-cv-04077-PA-AJW Document 1 Filed da28/14 Page 63 0 Ory
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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

|. (a) PLAINTIFFS ( Check box if you are representing yourself [_] ) DEFENDANTS { Check box if you are representing yourself C7 )
BILL A. BUSBICE, JR., an individual: OLLA PRODUCTIONS, | JAMES DAVID WILLIAMS, an individual: et al.,

LLC, a limited liability company; and ECIBSUB, LLC, a limited
liability company,

 

 

 

 

(b) County of Residence of First Listed Plaintiff Wyoming County of Residence of First Listed Defendant Los Angeles
(EXCEPT IN US. PLAINTIFF CASES} (IN US PLAINTIFF CASES ONLY}
(C) Attorneys (Firm Name, Address and Telephone Number If you are Attorneys (Firm Name, Address and Telephone Number) If you are

representing yourselt, provide the same information. representing yourself, provide the same information.

PAUL L. GALE, Bar No. 065873
TROUTMAN SANDERS LLP

5 Park Plaza, Suite 1400

Irvine, CA 92614 (949) 622-2700

 

 

. ll. BASIS OF JURISDICTION (Place an X in one box only.) Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only

(Place an X in one box for plaintiff and one for defendant}
. PTF OEF a PTF OEF
7 1. U.S. Government & 3. Federal Question (U.S. Citizen of This State Ch CI 1 Incorporated or Principal Place C4 Cla
Plaintiff Government Not a Party) of Business in this State

Citizen of Another State C) 2 O 2 ‘Incorporated and Principat Place Oo 5 CT] 5
oO 2US.G QO D (in Ci h of Business in Another State g
. U.S. Government 4. Diversity (indicate Citizenship | citizen or Subject of a . . CJ
moe Foreign Nation 6 6
Defendant of Parties in Item IIl) Foreign Country m) 3 O 3 9

 

 

IV. ORIGIN (Place an X in one box only.) 6. Multi
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1. Original CI 2. Removed from 0 3. Remanded from O 4. Reinstated or C) 5. Transferred from Another Oo District
Proceeding State Court Appellate Court Reopened District (Specify) Litigation

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes[] No (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23: [] Yes No MONEY DEMANDED IN COMPLAINT:$ $10.9 million

 

VI. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictionat statutes unless diversity.)
Securities Fraud under 15 U.S.C § 78j(b) and 17 C.F.R § 240.10b-5
Vil, NATURE OF SUIT (Place an X in one box only),

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT __| REAL PROPERTY CONT. | =. IMMIGRATION. | _PRISONERPETITIONS [> ” PROPERTY RIGHTS
oO 375 False Claims Act CO 110 insurance LJ 240 Torts to Lang Oo 462 Naturalization Habeas Corpus: LI 820 Copyrights
Application
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6 850 Securilies/Com- 153 Recovery of 345 Marine Prod oO 422 Appeal 28 “FORFEITURE/PENALTY Defendant)
mModities/Exchange (Overpayment of || [7] liability USC 158 625 Drug Related (7) 871 IRS-Third Panty 26 USC
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oO 950 Constitutionality of 230 Rent Lease & {{7] 368 Asbestos Disabilities-Other Litigation
State Statutes C) Eiectment Personal Injury (J 448 Education (7 Employee Ret. Inc,
Product Liability ecurity Act
FOR OFFICE USE ONLY: Case Number:
CV-74 (11/13) CIVIL COVER SHEET Page 1 of 3

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Case 2:14-cv-04077-PA-AJW Document 1 Filed 6578/14 Page 64 of 65 Page ID #:69

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

Vill. VENUE: Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
iS subject to change, in accordance with the Court's Genera! Orders, upon review by the Court of your Complaint or Notice of Removal.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Question A: Was this case removed from STATE CASE WAS PENDING IN THE COUNTY OF: INITIAL DIVISION IN CACD IS:
state court?
7) Yes No (I Los Angeles Western
IT"no,” go to Question B. If “yes,” check the [{(7] ventura, Santa Barbara, or San Luis Obispo Western
box to the right that applies, enter the
corresponding division in response to C] Orange Southern
Question 0, below, and skip to Section IX.
(J Riverside or San Bernardino Eastern
Question B: Is the United States, or one of If the United States, or one of its agencies or employees, is a party, is it:
its agencies or employees, a party to this
action? INITIAL
A PLAINTIFF? A DEFENDANT? DIVISION IN
O Y & N : CACD IS:
&s ° Then check the box below for the county in Then check the box below for the county in
which the majority of DEFENDANTS reside, which the majority of PLAINTIFFS reside.
IF*no,” go to Question C. tf "yes," check the CJ Los Angeles DO Los Angeles Western
box to the right that applies, enter the [7] Ventura, Santa Barbara, or San Luis gO Ventura, Santa Barbara, or San Luis Western
corresponding division in response to Obispo Obispo
Question D, below, and skip to Section {X. ian
Orange O Orange Southern
OD Riverside or San Bernardino oO Riverside or San Bemardino Eastern
oO Other C Other Western
. . A B. Cc. D. E. F.
plaintivfe sa aecation ot ims? Los Angeles |Ventura, Santa Barbara, or Orange County Riverside or San Outside the Central Other
(Make only one selection per row) County __ | San Luis Obispo Counties Bernardino Counties. District of California
Indicate the location in which a
majority of plaintiffs reside: 0 Cj O i) X C)
Indicate the location in which a
majority of defendants reside: Des C] C) C] C C]
Indicate the location in which a
majorily of claims arose: bs C) CJ C) O O

 

 

C.1. is either of the following true? If so, check the one that appiies: C.2. Is either of the following true? If so, check the one that applies:
C] 2 or more answers in Column C oO 2 or more answers in Column D
O only 1 answer in Column C and no answers in Column D C only 1 answer in Column D and no answers in Column C
Your case will initially be assigned to the Your case will initiatly be assigned to the
SOUTHERN DIVISION. EASTERN DIVSION.
Enter “Southem* in response to Question D, below. Enter “Eastern” in response to Question D, below.
If none applies, answer question C2 to the right. —>- I{none applies, go to the box below. J

 

Your case will initially be assigned to the
WESTERN DIVISION.
Enter "Western" in response to Question D below.

 

 

 

 

 

 

 

 

 

Question D: Initial Division? we 0 ” INITIAL DIVISION IN CACD
Enter the initial division determined by Question A, B, or C above: —> WESTERN
CV-71 (11/43) CIVIL COVER SHEET Page 2 of 3

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL COVER SHEET
iX(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO 0 yes
If yes, list case number(s):
IX(b). RELATED CASES: Have any cases been previously filed in this court that are telated to the present case? —X} no CL} ves

If yes, list case number(s):

 

Civil cases are deemed telated Ifa Previously filed case and the present case:

(Check all boxes that apply) O A. Arise from the same or closely related transactions, happenings, or events: or
CT B. Call for determination of the Same or substantially related or similar questions of law and fact: or
C C. For other reasons would entail Substantial duplication of labor if heard by different judges; or

O D. Involve ihe same patent, trademark or capyright, and one of the factors identified above in a, b orc also is present,

 

 

 

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X. SIGNATURE OF ATTORNEY Su tah ff
7; oe ae v4,
(OR SELF-REPRESENTED LITIGANT): Ott, As AAO DATE: 5/28/14

 

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Sacia! Security Act, as amended. Also,
861 HIA include claims by hospitals, skilled nursing facilities, etc., for certification as Providers of services under the program.
(42 U.S.C. 1935FF(b))
862 BL All claims for "Black Lung” benefits under Title 4, Part B, of the Federal Coa! Mine Health and Safely Act of 1969. (30 U.S.C.
923)
All claims filed by insured workers for disability insurance benefits under Title 2 of the Sacial Security Act, as amended: plus
863 DIwc all claims filed for child's insurance benefits based on disability, (42 U.S.C. 405 (g)}
All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Sociai Security Act, as
863 DIWWw amended. (42 U.S.C, 405 (g))
864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.
865 RSI All claims for retirement (ald age) and survivors benefits under Title 2 of the Social Security Act. as amended.

(42 U.S.C. 405 (g))

 

CV-71 (11/13) CIVIL COVER SHEET Page 3 of 3

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